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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                   AUGUSTA DIVISION

UNITED ST ATES 01'' AM.E RICA                      •
                                                   *
v.                                                 *          NO. 1: I 7-CR-000!4lcd with Classified
                                                   *                                   Security Orticcr
REALITY LEIGH WINNER                               •
                                                   *
                                                   •·
* * * * * * • * * • * * * • • * * * * •
              DEFENDANT'S OBJECTIONS AND APPEAL OF MAGISTRATE'S
                DECISION GRANTING IN PART AND DENYING IN PART
              DEFENDANT'S MOTION TO COMPEL DISCOVERY REQUESTS

       NOW INTO COURT, through undersigned counsel, comes Defendant Reality Leigh

Winner ("Ms. Winner" or the ''Defendant"), who respectfully files in the instant Objections and
          I
Appeal of the order granting in part and denying in part her Motion to Compel certajn discovery

items from the Government [Doc. 172] (the ''Appeal"). As set forth in more detail below, the

magistrate judge erred tn rendering literally dozens of rulings in connection with the Defendant's

Motion ·to Compel Discovery [Doc. J29] and the parties·' Joint Status Report (which listed all

outstandi1ng discovery requests) [Doc. 162], including denying the most basic of discovery

sought b;y the Defendant (such as documents and information she specifically saw that would

have impacted her slate of m·ind at the time of the a lfoged offense) and other discovery that
                                                          1




would directly undermine the elements of the offense at issue and potentially raise a reasonable

doubt in the mind of a juror as to guilt or innocence, i.e. Brad;v evidence.

       Allowing this case to move forward in the absence of the requested discovery will

prohihit the Defendant from mounting effective defenses at triaf and accordingly, wflf impact her

ability to receive a fair trial. Indeed, the magistrate judge's rulings have prevented the Defendant

from ev-en being able to assess the strength (or weakness) of the Government's case.            The
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i

i    magistrate judge's rulings in connection with the served discovery requests, which are attached

     hereto as Exhibit A in summary format, should be reversed.
                                                                                  1
                                                                                      Given the complex nature of this

     case and the elements the Government must: prove, coupled with the importance of the requested

     discovery, the Defendant also respectfully requests a hearing in connection with this Appeal.

     I.         Introducti.on and Summary of Argument

                While thjs case involves the aUeged disclosure of a single document, a single time, to a

     single recipient, that record -- described in the Indictment as "classified intelligence reporting '

     (hereinafter, the "Document") -- involves very broad topics.2 Among many other things, the

     Documen.t at issue (and its attachment)




     -          It is, of course, not a crime to simply disclose classified information, but instead the

     charge brought by the Government here requires that it prove, arnong other things, beyond a

     reasonable doubt, that (a) the defendant had "unauthorized" possession of the document at issue;

     (b) drat the document issue contained "national defense infonnatiorn;-' i.e. information that was

     "cfosely 'held" by the Govemme.nt .an<ll information that, if disclosed, was "potentially darna,g;ing

     to the n~fronal security of the U:nrted States".; and (c) tbat the Defe:ndant "wiHfut1y·' transmi tted

     that document to someone not entitled to receive it [See, e.g. Doc. Nos. 112, 132]. As set forth

    . below, nearly all of the Defendant's document requests, attached in a summary chart form as

     Exhibit A, are anchored to at least one (and in some -c ases, several) of these elements --

     1
         See Exhibit A (Chart of Requests and Magis~rate Jud,ge'.s Rulings).
     1
         See Declaratfon 0f J. William Leonard attached ihereto as Exhibit B
     4
         Copies oft'he unredacted and redacted Document are attached liiereto as EX!hibhs C and D, ,respectively.


                                                                 2
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    necessarily rendering them "relevant and helpful" to the defense, the applicable standard for

I   permitting Ms. Winner's discovery requests.                          Despite this, the magistrate judge repeatedly

I   denied pertine.nt discovery that is relevant -- and indeed, as set forth in the attached Declaration

'   of one of the Defendant's experts, J. William Leonard, necessary -- to the defense .

              Importantly, many of the requests are geared towards the element of whether the



I   information at issue here (the informati.on contained in the Document) constitutes "national

    defense information."             As previously briefed, and ac; held by the magistrate judge, "national


I   defense information" means information that is "closely held" by the Government and

    information that, if disclosed, could potentially harm the national security of the United States

    [Doc . 'Nos. 112, 132].
                                  5
                                      In that regard, at the hearing held by the magistrate judge on November

    30th and December l st, the Government illuminated its position that the entiretv of the document

    -- not just particular lines, words, or phrases -- constitutes '"national defense information" (NDI)

    and that the totality of the Document \Vas relevant to establishing three additional points, which

    it also cont.ends are NDI. As discussed below, its position that the entirety of the Document, as

    well as its three proffered points, are NDI., was confirmed in the Government' s CIPA Section 10

    filing on Decemiber i4, 2017 [Doc. 182]. Given the Government's posit,ion, it is axiomatic that

    ·the Defendant is ent'illed to -discovery on all facts anrl topics covered 'by the Docume,nt so that .

    she may demonstrate to the jury that ithe information contai ned there.in is noJ national d.ef.e:nse

    information. And, given the Government's broad position, it can hardly be heard to complain

    about the requested discovery.




    -~While .the Government c:Hsagreces :that it must prov.e the ''potentia:J bormi" ,p rong o f NO.J., as p.reviously brie,ted, 5llCh
    a position ,is 1incons.istent w.itih ;ne-anly ,every case to have ,ei.:.er addressed H and .is inconshtent with the Gi,vemment's
    'fJ ll'fl position in p:rilo.r -Espiouage Act cases ,[Doc . .132 at pp. 1-5). The magistrate judge bas, accordingly, found such
     an element relevant for purpo.!les o.f,d,iscovery .


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           Many of the magistrate judge's rulings denying Defendant's requested discovery seem to

be based on the magistrate judge's mistaken understanding that the Government had somehow

limited what information it was contending was "national defense information." In reality, as set

forth below, despite much discussion (and despite repeated requests by the magistrate judge), the

Government did not narrow its position on what, in particular, is NOi, but it actually broadened

it.     While still holding firm on its position that the entirety of the document is NDI, the

Government supplied the Court with three additional points -- essentially, inferences and/or

consequences that may have flowed from the disclosure of the document -- that it contended

were apparently the most sensitive pieces of information involving the document at issue . But,

of course, despite much confusio.n, the Government has not limited itself such that the most

sensitive pieces of information (its 3 NDI points) are only pieces of national defense information;

rather, the Government's stated and confirmed position, as set forth in its CIPA Section. 10

submission [Doc. 182], is that the entirety of the Document is NDI, in addition to the three points

proffered at the hearing and subsequently adopted in its CIPA Section 10 filing [Doc. 182].

Significantly, some of these points do not explicitly appear anywhere in the document, and, even

if those three points did narrow NOi (which they did not), the magistrate judge nonetheless --

without adequate explanation or reasoning -- d,en.ied Defendant discovery specifically requesting

infonnation regarding these three !NDl po.ints, points the Govemment has expressly stat ed it will

1be usi,ng to establish an esse,111tial element of their case. As set forth he:Iow., the magistrnte judge'·s

mlings denying discovery gear,ecli towards determining whether the inforrna:tio.n at issue

constiitute.s 'NOJ -- a il.elerminotion solely wifhin the prolJinc.e Dfthe j1uy. no/ ihe Couri      H   were




6
    Doc. ll2atp . 5(citingGorinv. UnitedStates,3\2U .S.19,31-32(1941)) .


                                                      4
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erroneous and, if allowed to stand, would improperly prohibit Ms. Winner from obtaining

discovery to be able to mount a defense she is Constitutionally entitled to make in this case.

         Separately, the magistrate judge denied discovery requested by the Defendant relating to

the element of whether the Defendant acted with the required level of mens rea at the time of the

offense. The Government must here prove that the Defendant acted "willfully" that is, that she

knew was she was doing so unlawful, including that she knew the information at issue constituted

NOi [Doc. 112].          Even in the most basic of white collar cases, a defendant is entitled to

information he or she saw during the pertinent time period -- emails, written correspondence, and

the like -- as being relevant and helpful in determining the defendant's state of mind at the time

of the alleged offense. The magistrate judge denied this requested discovery, even at one point

suggesting that, as a substitute to the requested discovery, she could testify about what she saw

that formed the basis of her mens rea. 7                    Of course, if permitted, this ruling would be

Constitutional error, as a defendant has a Constitutional right to remain silent. 8 Subsequently,

the magistrate judge ru1ed that these records were not "relevant and helpful" to the defense. In

reality, nearly everything the Defendant viewed in or around the pertinent time period would be

relevant to her state of mind at the time of the alleged offense. For example, as set forth below,

to the extent these documents reflect, for example, the Defendant's view that the information

contained within the document was already in the public domain (as she told the FBI Special

Agent during her interrogation), 9 that discovery would constitute Brady evidence.                                   The

magistrate judge denied those requests, too.




7
  See Tr. of Proceedings, Nov. 30, 2017-Dec. I, 2017, atp. 91:7-8 ("First of all, she can testify to that effect:').
8
  U.S. CONST., amend . V (" No person .. . shall be compelled in any criminal case to be a witness against himself. .. "),
9
  See Doc. 189-2 (Redacted FBI lnte,rrogation) at USAO-08173 (''I just figured that. .. this report was just going to
be like a-one drop in the bucket." ).


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         There were other discovery requests the magistrate judge denied, as well. For example,

the Government has protTered several pieces of evidence it desires to introduce to the jury under

Rule 404(b) of the Federal Rules of Evidence; the Defendant therefore requested additional

infonnation directly related to these pieces of evidence, which the magistrate judge denied, even

though the Court is currently considering briefings on motions in limine relating to that evidence.

The Defendant likewise requested discovery on the particular of the Document at issue, such as

discovery on who classified it; when it was classified; the bases for such classification; any

analyses regarding same; and the like. With few exceptions, the magistrate judge denied these

requests, as well, opining that such information was not relevant to the defense. Frankly, there

are few pieces of information more relevant than the bases upon which the Government has

cla<;sified the Document at issue - the very classification the Government will be relying on to

establish that the information contained therein is NDL

         In the end, the magistrate judge, who understandably went back-and-forth on his

positions during the two-day hearing, only permitted, with several exceptions, unclassified

discovery (and, in many cases, the barest of unclassified discovery, known as "non-FOU0") 10

specific to the most particular pieces of information contained in the Document. As set forth in

detail below, the denial. of these discovery requests have injected prejudicial error in these

proceedings, are inconsistent with pertinent case authorities, and those rulings should be reversed




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1
  FOUO is defined as " For Official Use Only" and ii is not a classification. See Ex. B (Leonard Deel) at pp. 9-10
(120). The distinction to exclude FOUO documents from discovery was inexplicable: as the Government knows,
nearly everything dealing with any of the broad facts and topics in the Document will be marked , as a minimum, as
FOUO. A ood exam le of the t es ofrecords which will be excluded is attached as Exhibit E

              See Exhibit E. Thus, excluding these records - which the magistrate judge did in a conclusory nature
given the Government's unsupported protestations about the burdensomeness of retrieving such records - has
effectively prohibited the defense from receiving any records pertinent to formulating some of its defenses. See Ex.
B (Leonard Deel.) at pp . 9-10 (120).


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to ensure the Defendant has the opportunity to obtain discovery relevant and helpful for her

defenses and preserve her Constitutional right to receive a fair trial.

U.      Procedural History

        On August 25, 2017, the Government circulated to Ms. Winner's defense counsel an

index of unclassified discovery that had been disclosed to Ms. Winner throµgh the same date.

Upon review of the discovery, it became abundantly clear that the Government had altogether

failed to disclose entire categories of documents that will be required for the Government to

prove, and for Ms. Winner to defend, the charged offense. Subsequent to its receipt of the

Government' s discovery, the defense served five (5) separate sets of discovery requests on the

Government - four in written form, and a fifth was orally stated at the hearing on the Motion to

Compel held on November 30-December l, 2017. The entirety of these document requests are

attached hereto as Exhibit A. As discussed below, the Government has utterly failed to produce

relevant and helpful evidence to the defense, including evidence that the Defendant needs in

order to negate some of the elements of the charged offense. In most instances, the Government

has unilaterally decided what information the Defendant needs to prepare her defense in what

appeared to be an attempt to limit what defenses she may present. The Government' s failure to

produce relevant and helpful evidence necessitated the Defendant's Motion to Compel, filed on
         0



October 19, 2017 [Doc. 129], which the Government opposed on November 1, 2017 [Doc. 142].

After a short hearing wherein the parties attempted to meet-and-confer regarding some of the

requests, the magistrate judge ordered the parties to submit a joint report, itemizing all discovery

requests in dispute by November 13, 2017 [Doc. 148], which the parties complied with [Doc.

162].   The magistrate judge thereafter held a two-day hearing on November 30, 2017 and

December l, 2017 [Doc. Nos. 170 & 171] on the Motion to Compel and the itemized discovery



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requests contained in the Joint Status Report. At the end of the two~day hearing, as set forth

below, Magistrate Judge Epps denkd wide swaths of discove.r y - indeed, almost everything

requested by the Defendant - including thie most basic ofdiscovery (such as information refating

to some of the facts and topics in the Document at issue thait Ms. Winner .likely saw during the

same time period) and discovery that would unquestionably negate elements of the otlense and

may raise a reasonable doubt in the mind of jurors about guilt or innocence, i.e. Brady evidence

(such as records that would reflect that the information contained in the Document at issue was

not closely held and/or wouM not potentiaHy cause hrum to the n ational security of the U nited

States if disclosed).

         As to the latter, the magistrate judge' s orders are all the mo.re troubling because, as set

forth above, it is the jury - not the judge - that is the ultimate arbiter of whether or not the

information contained in the document is NDI, i.e. whether it is "closely held" or whether its

disclosure would poten,tially cause harm to the national security of this country. 11                         In other

words, in denying the requested discovery on relevancy grounds, the magistrate judge substituted

his own judgement for that which is solely a jury determination.

         lf allowed to stand, these rulings which, of course, only seek to a determination of the

discoverability of documents (as opposed to admissibility of them) 12 would inject prejudicial




11
   Doc. 112 at p. 5 (citing Gorin, 3 12 U.S. at31 -32).
tz As the Court is aware, to the extent the Govemment has concerns about us ing certain discoverable documents at
trial, it retains the right, through CIPA, to request that the Court redact certain portions ( or institute substitute
language) of those documents prior to triaL The Motion to Compel, and the discovery requests listed in the Joint
Status Report, simply address whether the defense is entitled, to discover such records. See, e;,g. UnitedStates v,
Poindexter, 727 F. Supp. 1470, 1473 (D.D.C. 1989) (taking broad view of discovery in national security case
because Court will have opportunity to address admissibility under CIPA processes).


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error into these proceedings limiting Ms. Winner's ability to prepare an adequate defense; the
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magistrate judge 1 s rulings on Ms. Winner's requested discovery should therefore be reversed.

III.     Governing Law

         A.       Law Governing Appeal of Magistrate's Order

         Pursuant to Rule 59(a) of the Federal Rules of Criminal Procedure, a "district judge must

consider timely objections and modify or set aside any part of [an] order [of a magistrate judge]

that is contrary to law or clearly erroneous." FED. R. CRIM. P. 59(a).

         B.       The Government's Discovery Obligations

         As briefed in the Defendant's Motion to Compel, the Government's obligations relevant

to this Motion are predicated upon Rule 16 of the Federal Rules of Criminal Procedure, as well

as Brady, Giglio, and their progeny.              This Appeal first discusses the Government's general

discovery obligations under Rule 16, Brady, and Giglio before turning to the specific requests.

                  1.        Discovery Obligations Under Rule 16

         Rule l 6(a) of th.e Federa;! Rules of Criminal Procedure "spells out [ certain) materials the

prosecution must produce on the defendant's request." FED. R. CRIM. P. 16; United States v.

Jordan, 316 F.3d 1215, 1249 (11th Cir. 2003). The Rule 16(a) required disclosures include the

following: (l) the defendant's statements {Ru:!e 16(a)(l)(A) and (B)); (2) the defendant's prior

record (Rule 16(a)(l)(D)}: (3} documents and objects material to preparation of defense (Rule

l6(a)( 1l)(E)),: (4) reports .of examinations and tests (Rule 16(a)(l)(F)}; and (S) expert witnesses

                       14
(Rute l6{a)(l)(G)).


13
   To be clear, the Defendant is seeking a reversal on the requests which were denied by the magistrate judge as
listed on Exhibit A. She is not seeking any action with respect to discovery requests that were withdrawn or
mooted, as noted in the attached chart.
14
    The analysis in this Appeal is limited to certain categories of required disclosures under Rule 16 that are clearly
de·ficient; however, Ms. Winner hereby reasserts all of her rights with regard to all :required disclosures and the


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         In general, Rule 16 " is intended to prescribe the minimum amount of discovery to which

the parties are entitled," and leaves intact a court's "discretion" to grant or deny the "broader"

discovery requests of a criminal defendant. Jordan, 316 F.3d at 1249, n.69 (citing Notes of

Advisory Committee on 1974 Amendments to Federal Rules of Criminal Procedure, Fed. R.

Crim. P. Rule 16); see also United States v. Karake , 281 F. Supp. 2d 302, 306 (D.D .C. 2003).

"[D]isputes should be resolved in the defendants' favor, for '[t]he language and the spirit of the

Rules are designed to provide to a criminal defendant, in the interests of fairness, the widest

possible opportunity to inspect and receive such materials in the possession of the government as

may aide him in present his side of the case. " ' Id. (quoting Poindexter, 727 F. Supp. at 1473).

         In the Eleventh Circuit, a discovery violation under Rule 16 constitutes reversible error

when it violates a defendant's substantial rights. See, e.g., United States v. Chastain, 198 F.3d

1338, 1348 (11th Cir. 1999); United States v. Bueno-Sierra, 99 F.3d. 375,380 (11th Cir. 1996).

Substantial prejudice exists when a defendant is unduly surprised and lacks an adequate

opportunity to prepare a defense. United States v. Camargo-Vergara, 57 F.3d 993 , 999 (11th

Cir. 1995). " Inadvertence ,does not render a discovery violation hannless ; rather, the purpose of

rule 16 is to protect a defendant's right to a fair trial rather than to punish the government' s non-

compliance." Id. (citations omitted).

        Among the categories of required disclosures is Fed. R. Crim. P. 16(a)(l)(E), which

requires that the government disclose an " item [] material to preparing the defense. " FED. R.




Government and this Coun should not interpret any omission regarding any spe.cific category of disclosure in this
Appeal as any admission that any such category of documents has been received, exists, or does not exist or as any
waiver of rights.


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 CRIM. P. 16(a)(l)(E) (emphasis added); 15 see also Jordan, 316 F.3d at 1249 (analyzing fonner

 RuJe 16(a)(l)(C)) .

         "An item ... need not be disclosed 1.mless the defendant demonstrate.s that it is ma,teriaiJ to

 the preparation of his defense. A general description of the item will not suffice; neither will a

 conclusory argument that the requested item is material to the defense. Rather, the defendant

 must make a specific request for the item together with an explanation of how it wiH be helpful

 to the defense." Id. at 1250 ( citations omitted).

                                    16
         ''As the F ifth Circuit         put 1it in United Slates v. Buckley, 5:86 F.2d 498, 506 (5th Cir.

 1978) (quoting United States v. Ross, 511 F.2d 757, 762-63 (5th Cir. 1975)),, the deferndant must

 show more than th at the [item} bears some abstract logical relationship to the issues in the case . .

 . . There must be some indication that the pretrial disclosure of the [item] . . .' would enable[) the

 defendant significantly to alter the quantum of proof in his favor." Jordan, 316 F.3d at 1251;

accord United States v. Caro, 597 F.3d 608, 621 (4th Cir. 2010). A disclosure is considered

material "as long as there is a strong indication that it will play an important role in uncovering

. admissible evidence, aiding witness preparation, corroborating testimony, or assisting

impeachment or rebuttal." Caro, 597 F.3d at 62 l (quoting United States v. Lloyd, 992 F.,2d 348,

351 (D.C. Cir. 1993)) .

         Consequently, "the government cannot take a narrow reading of the term ' material ' in

deciding what to disclose under Rule 16. Nor may it put itself in the shoes of defense counsel in

attempting to predict the nature of what the defense may be or what may be material to its



15
   As discussed in greater detail below, many of the Defendant' s requests relate to disclosures material to preparing
her defense as contemplated by FED. R. CRIM. P. 16{a)(l )( E).
16
   In Bonner v; City of Prichard, 661 F.2d 1206, I 209 ( I Ith Cir. 1981) (en bane), the Eleventh Circuit adopted as
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binding precedent all decisions of the former Fifth Circuit handed down prior to October l, 1981 .


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preparation." United States v. Sa/avian, 233 F.R.D. 12, 15 (D.D.C. 2005). As the Uniited States

District Court for the District of Columbia explained:

       Rule l 6(a)( l )(E) .. . covers evidence that is material to the preparation <.!l the
       defendant's defense. It is not limited to evidence that is favorable or helpful to
       tne defense and does not immunize incu1patory evidence from cft:isdosure.
       Incui)patory ,e vidence, after all, is just as likely to assist in the preparation of the
       defendamt"s defomse as exculpatory evidence. . . . [i)t is just as important to the
       preparation of a defense to know its potential pitfalls as to know its strengths.

Id. (internal citations and punctuation omitted).      Indeed, "Rule 16 is intended to provide a

criminal defendant 'tl,e widest pQssible opportunity to bispect and receive sue/, materials in tlie

possession of the Govenrment as mqy a.id J,im in presenting Jzis side ,o f.tl,e case."' Id. ('citations

omitted) (emphasis added).

        Because it may be difficult for a defendant to make a materiality showing if she does not

know what the evidence is, courts often require the defense to make only a prima facie showing
                                                                                                          I
of materiality to obtain discovery. See, e.g., Wiggins v. United States, 386 A.2d I 171, 1178

(D.C. 1978); C. Wright, 2 Federal Practice and Procedure, Criminal 254 at 66-67 (2d ed. 1982).

               2.      Exculpatory and Impeachment Material (Brady I Giglio)

       Government disclosure of material exculpatory and impeachment evidence is part of the

constitutional guarantee to a fair trial. Brady, 373 U.S. at 87; Giglio, 405 U.S. at 154. The law

requires the disclosure of any information that is favorable to the defense and material to guilt or

punishment. Brady, 373 U.S. at 88. Information favorable to the defense includes anything that

''would tend to exculpate [the defendant] or reduce the penalty," see Brady, 373 U.S . at 87, and

evidence regarding the reliability or credibility of a witness, see Giglio, 405 U.S. at 154-55.

Because they are constitutional obligations) Brady and Giglio disclosures are required to be




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made regardless of whether the defendant makes a request for exculpatory or impeachment
                                                                                                                    I
evidence. Kyles v. Whitley} 5:14 U.S. 419, 432-33 (1995).n
                                                                                                                    I
                          a. Brml;r Analysis

         "In addition to the government's discovery obligations under Rule 16(a), the government                    I
                                                                                                                    a
must also honor the defendant ' s constitutional rights, particularly the due process right Brady v.

Maryland establi:Shed.      Brady ,r equires the prosecutor to turn over to (he ddense evidence tihnt is

favorable to it!he accused, even though it is not subject to discovery under Rule 16(a), since,

eventually, such evidence may ' undermine(] the confidence in the outcome of the trial."'

Jordan, 316 F.3d at 1251 (citations omitted).

         Not url!like Rul.e 16_, Brad;v -obligates the gov,e mment to disclose favorable evidence that is

"materiaI" and may even be broader.
          1                                    Id. As the Supreme Court has assessed, "the touchstone
                                                                                                                    I
of materiality is a •reasonable probability' of a different result, and the adjective is important.

The question is not whether the defendant would more likely than not have received a different

verdict with the evidence, but whether in its absence he received a fair trial, understood as a trial

resulting in a verdict worth of confidence." Kyles v. Whitley, 514 U.S . at 435. "Accordingly,

under Brady, the government need only disclose during pretrial discovery ... evidence which, in

the eyes of a neutral and objective observer, could alter the outcome of the proceedings."




                                                                                                                    I
Jordan, 316 F.3d at 1252.

        The correct result of a post-trial Brady challenge is often readily apparent.                   "Under

Brady, the [Government] violates a defendant's right to due process if it withholds evidence that

is favorable to the defense and material to the defendant's guilt or punishment .. . . Evidence is                  I
17
   In Kyles v. Whitley , the Supreme Court held that in order to satisfy the Government's disclosure obligations,
prosecutors have a duty to team information favorable to the defense known to others ··acting on the government's
behalf in the case ." 514 U.S . at 43 7.
                                                                                                                    I
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'material' within the meaning of Brady when there is a reasonable probability that, had the

evidence been disclosed, the result o'f the proceeding would have been different. A reasonable

probability does not meaf!J that the defendant would more likely than not have received a

different verdict with the evidence, only that the likelihood of a difforent result is great enough to

undermine confidence in the outcome of the trial." Smith v. Cain, 556 U.S. 73 (2012) (citations

omitted)); see also Baxter v. Thomas, 45 F.3d 150 l, 1506 ( 1 1th Cir. 1995). HO'wever, evaluating

materiality at the pre-trial stage is frequently more difficult to assess .

        As a consequen ce, many wurts have adopted a permissive approach to pre-tr.ial discovery

:requested under Brady. See, e.g., Safavian, 233 F.R.D. 12, I 6 (O.O.C. 20.05} (hoilding ,that a

prosecutor should not view hi s discovery obligations ''through ,tbe end of the telescope" that an

appellate court would use, but instead must disclose what is '"favorable"); United States v.

Mohamud, No. 3:10-CR-00475-KI, 2012 U.S . Dist. LEXIS 142316 (D. Or. Oct. 2,, 2012)

(adopting a pretrial disclosure standard that encompasses all evidence " favorable to the

defense"); United States v. Phair, No. CR 12- t 6RAJ (W. D. Wash . June l 9, 2012) (requiring

disclosure of all evidence favorable to the defense or likely to lead to favorable, admissible

evidence); Boyd v. United States, 908 A.2d 39, 60 (D.C. Cir. 2006) (interpreting Strickler v.

Greene, 527 U.S. 263 (1999), for the proposition that a prosecutor has a duty to disclose

impeaching and exculpatory information irrespective of whether it later determined to be not

material).
                                                                                                         I
       Of course, evidence that is not admissible at trial may still be Brady material. Wright v.

Hopper, 169 F.3d 695 , 703 & n.1 (11th Cir. 1999); Spaziano v. Singletary, 36 F.Jd 1028, 1044

(11th Cir. 1994). The issue is whether disclosing such information may lead to the discovery of

admissible evidence;: Brady v. Nagle, 212 F.3d 559 (1 Hh Cir. 2000).



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                       b. Giglio Analysis

       In addit1on to Brady materials, the prosecutor must tum over "any impeachment evidence

that is likely to cast doubt on the reliability -o f a witness whose testimomy ·' may we.II be

detenninative of guilt or innocence."' Jordan, 316 F.Jd at 1253 (citations omitted)~ see also

Bueno-Sierra, 99 F.3d at 380. Impeachment evidence should be disclosed Ln time to permit

defense counsel to use it effectively in cross-examining the witness, Id.

       C.      Classified Nature of Requested Disco1 cry1




       To the -e xtent t he Defendant seeks dassified informati,on through her discovery requests,

the appropriate standard for such discovery is whether or not the requested information is

relevant and helpful to the defense.    See, e.g. Rovario v. United States., 353 U.S. 53, 60-64

(1957); United States v. Yunis, 367 F.2d 617, 623 (D .C. Cir. 1989). "To be helpful or material to

the defense, evidence does not need to rise to the level that would trigger the [G] overnrnent' s
                                                                                                     I
obligation under Brady v. Maryland, 373 U.S. 82 (1963), to disclose exculpatory information."

United States v. Turner, No. 13-CR-572, 201. 4 WL 3905873, at *4 (N.D. TIL July 29, 2014) ·
                                                                                                     I
(quoting United States vi Are/, 533 F.3d 72, 80 (2d Cir. 2008)). Indeed, information can be "at

least helpful" without necessarily being " favorable." United States v. Meija, 448 F.3d 436, 456-

57 (D.C. Cir. 2006). Other courts in national security cases take "the broadest possible view of

how [1 classified documents might be ' relevant and helpful' " to the defense. Turner, 20 I 4 WL

3905873, at *4; see Poindexter, 727 F. Supp. at 1473. This is because, under the CIPA process,

a court "wiH have an opportunity to address once again the issue of materiality of classified

documents that have been produced and their use of evidence" and, accordingly, ''close or

difficult issues" may be resolved in the defendant' s favor. Poindexter, 727 F. Supp. at 1473.




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IV.      Argument and Authorities

         A.      The Document At Issue

         The Document Ms. Winner is alleged to have leaked to a media outlet




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"See Exs. C & D.                                                                    I
                                                                                    II
19
   See id.
20
   See id
21
   See id.
22
23
   See Ex. C.
   See id at p. 9.                                                                  I
                                            16                                      II
                                                                                    I
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         B.        The .Defendant's Discovery Requests

         Attached hereto as Exh,ihit A is a chart listing the entirety of the IDefendanfs document

requests -- which were contained in five separate sets of requests served on the Government over

the course of the last several months -- that were addressed at the hearing held by the magistrate

judge on November 30th and December I st 27 Each oHhe requests in the attached chart has been

consecutively numbered and, for the sake of clarity, the discovery requests have been grouped by

broad topics below.         The rulings of the magistrate judge are listed in the attached chart. 28

Further, the rationale for the discoverability of each category of requests are set forth in Part

IV .C.




24
   See id. at p. I 0.
25
   See id
26
   See Ex. C.
27
   See Ex. A.
28
   No order was issued by the magistrate judge in connection with the requested discovery items, so counsel has
thoroughly reviewed the transcript of the hearing in an attempt to ensure specificity and clarity with respect to the
rulings at issue.


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            C.       The Gu,·,e r1nnent's Position on Natfo.n al l)efe:nse :lnfoTmadon

            Magistrate Judge Epps was crystal clear at the hearing on the Motion to Compel/Joint

Status Report that the discoverabHity of many of the Defendant's document requests depended,

in large measure, on the breadth of the Government' s. view of what porti,o ns o,f the Document at

issue it ·c onsidered as 1,<;,national ,defense informafion":

            T HE COURT: Right. And I think that helps for purposes of deciding the scope of
            discovery for us to have not just a statement that the entire thing is NDI, but
            enough specificity so that we can tailor discovery around it... even though I
            understand that [the Government will] argue at trial this document itself is NDI,
            there are portfons of it that aren't and portions of it that are that will drive the
            defense -sttateg)' and the information they' Je se-eking from t\1\e g,ovemment.29

                                                             +        +

            THE COURT:Ms. Edelstein, I mean, this is really kind of a choice y'all got all
            day long today. It's how specific can you be with me so that I can be specific in
            what I order in te.r ms of discovery.~0

In other words, the magistrate judge understandably indicated, on multiple occasions throughout

the two-day hearing, that the broader the Government's view ofNDI , the more dise,overy, geared

toward the element of NDI, would likely be relevant and helpful to the Defendant in presenting

her view to the jury that the information contained. in the document was not NDI.

           Time and time again, the Government was pressed to provide what, precisely, constituted

NDI in the document at issue in an effort to narrow the pertinent topics in this case:

           THE COURT: [This] is a complicated case and what I am trying to do is narrow
           the scope of what the government is going to argue at trial so that we can narrow
           accordingly the scope of discovery. 31

                                                    +        •        +
                                                                                                     I
                                                                                                     ,!




29
     Tr. of Proceedings, Nov. 30-Dec. I, 2017 at 28:24-29:2, 29:22-30: l ;
30
     Id at 87 :21 -24 ,
31
     ld at 167: 12-15.


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         THE COURT: Well, I mean, I would think the government is willing to do some
         of this. The more specific you get, probably the less comfortable they are, but on
         a very general Level :I would think the government would have no 1.roblem sa, ,in
         look we·"re .not .•oin · to c-ontend at trial that


                                                  •                 •
         THE COURT: Well, I think the answer to that - Ms. Edelstein, is the answer to
         that ever~ si.r.g.\e :statement in the r~port \S NDl?

         MS. EDELSTEIN: There is n0 way :to parse it Jike ,that, Judge ... I have not ·neveJ
         s.een a '[CJPA] Section Ten notice in which the government has been forced to
         circle line by line or redact parts of the document.

         THE COURT: Right. So taking his example, the firsl sentence he was dividing
         into five different portions and you ' re saying, no, the entire report is very specific
         to 11his inddelllt_; it was not publicly avaaablle prior to its issuance; and every single
         sente11ce in the.r:e is NDl?

         MS. EDELSTEIN: Yes, Your Honor. 33

lndeed, the Defend.ant agreed tha:t if the Government narrowed its view of NDI., the defense

could likely narrow the discovery requests. 34 And, to be safe, the defense (and the magistrate

judge) repeatedly asked the Government to go thrnugh the document, line-by-line, and advise

what is and what is not NDI, so discovery could be limited accordingly. 35

         Tellingly, the Government never did limit its view on NDI and, indeed, actually

broadened what information it believed was NDI -- going so far as to supply the parties and the

Court three additional NDI points that it contends are the most sensitive points purportedly

raised by the document at issue.36 To be sure, there clearly was some confusion during the

hearing as to whether the Government was limiting itself to just those three points, or whether

32
   id. at 214: 14 -20.
33
   Id. at 121 :25-122;15.
34
   See id at2f7:18-218 : l .
35
   See, e.g. id. at 26 :25-27:3 ("THE COURT: .. . What is the e.asiest way to go through this document, Ms. Edelstein,
for you to identify what you think is NDl or what the government would contend at trial is NDI or the opposite?");
30:20-22; 99:20- 100:6 ; 102:5-103 :4; 107:10-11.
36
   /d at 107:17-108: 17 (Government' s J NDI Points).


                                                          19
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                                                                           37
those three points were NDI, in addition to the Docurnent.                      And, in fact, the magistrate judge

appeared to make his rulings under the {mistaken) belid that the Govemme,nt had llmited ~tself
                                    38
to only thle three categories.           BU,l that confusiol'l was c'learecJ up by the Govemmemt's Cl PA

Section 10 submission, wherein it subsequently identified and confirmed what was NDI:




In other words., the Govermnerat never budged_; according to it, the whole document is NDI, 40

along with the three additional points it supplied during the hearing on the Motion to Compel and
                                                41
provided in its CIPA Section 10 filing.

         By the ead of t;hle two-day hearing, despite the Government's overly oroad position on

NDI, the magistrate judge then inexplicably backtrac.ked on .his ear,l ier pronouncement .regarding

the scope of discovery (wherein the magistrate judge advised that the more NDI there was, the

broader discovery would likely be ordered) and denied the vast majority of the requested

37
   Compare Tr. of Proceedings, Nov. 30-Dec. l, 2017, at 107:7-9 ("THE COURT: Well, l thought we had just spent
like two hours talking about what they truly contend is NDI and it 's not everything. lt's just three things."); 215:23-
216: I ("THE COURT: Mr. Chester, you just heard from her own lips that the only thing they' re going to contend is
NDI at trial will be the three things they've provided to you ."); 261 : I0-14 (''MS. EDELSTEIN : This, Your Honor, is
the whole reason why we agreed to fimit the ND! to these three topics ... '') with l 02 : l-4 ("THE COURT: I think
the would tell ou that eve hin in that re ort is NDI because every sentence in there is specific to -
                                                        ; 211 : 18-23 (MS. EDELSTEIN : "[H]ow I procee,d doing it is
saying that the document itself is NDI, but more specifically, these are the arguments we are going to rely on at trial
to explain why the document is NDl." ) and 211 :25-212:2 (MR. CHESTER: So the whol,e document is NOL Their
riosition hasn't changed on that, it sounds to me. THE COURT: Right.").
 8
   Tr. of Proc.eedings, Nov. 30-Dec. 1, 2017 at 248:25-249:3 ("THE COURT: .. . In fact, it is my finn beliefthat the
only categories they ' re going t.o contend is ND! are the three categories we have here . So that's really the basis for
these rulings [ am making today."). Of course, the magistrate judge's " finn beli,e r' on what he think the
Government will rely on at trial not does equate to (the requested) written stipulation - especially in view of the
Government' s CIPA Section 10 filing [Doc. 182].
39
   The CIPA Section 10 submission also went on to list the Government's 3 NDl Points. Id
40
   Tr. of Proceedings, Nov. 30-Dec. l, 2017 at 27 :4-7 (" MS . EDELSTETN: .. . it is our position that the document
itself is NDI and we don't have to parse the different paragraphs of it ... "}; 122: 10-15 ("THE COURT: .. . every
single sentence in there is NDT? MS . EDELSTEIN: Yes, Your Honor. ") .
41
   ln fairness, stray remarks were made throughout the two-day hearing on the Motion to Compel, appearing to
suggest that there are certain facts , topics, or concepts contained in the Document at issue that the Government
wou.ld not contend is NDf at trial. See Tr. of Proceedings, Nov. 30-Dec. I, 2017 , at 35: 11-36:24 (Magistrate Judge
discussing that certain topics that the Government will not contend is NOi at trial). However, given the
Government's stated position that the entirety of the document is NOi , such stray comments - without any written
stipulations, which were requested but never delivered - are, of no moment.


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discovery. The rulings on lhe Motion to Compel/Joint Status Report were enror and should be

teversed.42

          .D,,        The .Documents Requested Are Relevant and Helpful To The Oefcns,e

                      1.      Category No. l: Documents Reflecting Statements Made By liigh-
                              Ranking Governmental Officials Relating to the Information
                              Contained in tbe 'Document (Request Nos. 72, 13., 74)
                                                                                                                             'I
          This -case prese.nts a thorny issue for the Government: its posi:tion irn this case is belied by

our Commander-in-Chief. The Government has been proceeding throughout this case as if the

information in the Document is true; indeed, its three NDi[ points presuppose the truthfulness of

the information in the Document. 43 However, high-ranking government officiais, including the

President of the United States, have made statements undermining and/or contradicting that
                 44
contention.           That ,is of great import because, if the information in 'the Document is inaccurate

(as the Pres.ident and other high-ranking officials have said), it cannot be NDI.                             While the

defense may seek to capture some of this information in the public domain, 45 it cannot capture

statements made privately by these high-ranking offic.ials. ·Thus, Request Nos. 72, 73 and 74

seek records relating to the information contained in the Document, including statements made

by governmental officials expressing doubt as to the veracity of the information described

therein. Not only do such requests satisfy the low hurdle of being "relevant and helpful ," if there


42
   As a form of interim re.lief that may clarify the discovery process, the Coun could order the Govemrneot to
perfonn the task repeatedly requested of this - to advise the defense what precise words, Jines, and phrases are NDI
in the Document and then remand this Appeal on the Motion to Compel/Joint Status Report. Indeed, the Defendant
has filed a Motion for Bill of Particulars seeking that very reliefwhieh the Government, tellingly, has opposed . The
refusal to provide the specificity in question raises both Due Process Concerns and the risk of ex post fa cto at trial if
the jury is pointed to language to consider that has not been identified as ND[ pretrial. See, e.g Johnson v. United
States, 135 S.Ct. 2551 , 25,56-57(2015); FCC v. Fox Television Stations, Inc., 567 U.S . 239, 254-55 (2012).
43
   See Ex . B (Leonard Deel.) at pp. 6-7 (115).
""See, e.g. Defendant's Fourth Set of Discovery Requests (and articles attached thereto) (attached as Ex. D to Doc.
 162). For the sake of convenience, the Defendant anaches several peninent articles hereto as Exhibit F.
•~ In the name of security concerns, - h a s placed severe restrictions on the defense to search the public
domain for pertinent information to prepare relevant defenses . The defense and counsel for - a r e currently
working through these restrictions in an effort to try to resolve these concerns.


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    are statements by governmental officials doubting the veracity of the information contained in
                                                                                                                       46
    the Document, such records would be Brady evidence, given the Government' s position here.

               Magistrate Judge Epps denied these requests, finding them to not be relevant to the

    defense. 47 Notably, the magistrate judge denied these requests even before counsel could argue
                  48
    for them.          However, as a legal matter, infonnation in the Government's files inconsistent wit~

    its position in litigation is not only relevant and helpful, it can qualify as Brady evidence of
                                                          49
    impeachment evidence (Giglio evidence).                    Moreover, while the magistrate judge .stated that

    issuing subpoenas for such information is "patently ridiculous," 50 plenty of case law exists

    requirfog tht!:! P;resident (and other high-ranking officials) to provide documentary ,evidence when .

    their actions or statements are needed to permit a fair tria_l for a defendant. 51 Again, because the

    ,infonna,tiom sought by the D.efendan,t would undermine an element of the offense, it is not only

    "relevant and helpful" but the records sought may be exculpatory. Accordingly, the magistrate

    judge's rulings on these requests were clearly erroneous, contrary to law, and should be reversed.

                         2.     Category No. 2~ Records Reflecting the Disclosure by the Government
                                of Information Contained in the Document At Issue in a Format
                                Cl.assifi.ed at less than t'he TS//SCI level or to an Audience that did not
                                have a TS//SCI clearance (Request Nos. 12, 13, 21, 23, 24, 26, 28, 29,
                                31, 33, 35, 40, 46, 63, 70, 84, and 96)



                                                                                 -- of the Document Ms. Winner

    allegedly leaked.
                                                                                                                             :
.
    46
    47
         See Ex. B (Leonard Deel) at   pp. 6- 7 (~ 15).
       See Ex. A at Request Nos. 72, 73 , and 74 (and transcript citations listed therein) .
                                                                                                                             i

                                                                                                                             I
    48
       See Tr. of Proceedings, Nov. 30-Dec. t, 2017, at 324:17-23 .
    49
       See si1pra, Part lll.B.2.
    50
       Tr. of Proceedings, Nov. 30-Dec .. l , 20l 7, at 49:23 .
    st See, e.g. United States v. Nixon, 4 l8 U.S. 683 (1974) (requiring production of evidence in President' s possession
    rel.e vant to criminal investigation); In re Grand Jury Subpoena Duces Tecum , 112 F,3d 910 (8th Cir. I 997)
    (requiring production of evidence by White House in connection with criminal matter) ; United Slates v. Burr, 25 F.
    Cas. p. 30 (No. 14,692d) (C.C. Va. 1807).
                                                                                                                             '
                                                                                                                             I

                                                               22                                                            Il
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_ . Given the Government's 1.mequi.vocal position that this informati.on -- si.uce it ~s
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                                                                                                                   •



 contained in the Document -- is NDJ,, 53 and that it win use this information to prove the ND'l




                                                                                                                   I
element at trial, 54 it necessarily follows that the Defendant is entitled to discovery on these

 points.ss As a result, ·Ms. Winner issued numeroius discovery requests wh<ich :ask ,for infonnation




                            the defense has become aware of relating to these efforts by those actors. 56

         The aforementioned document requests easily satisfy the test that they be ''relevant and

helpful" to the defendant. In fact, many of the requests seek Brady evidence~ i.e. information to

undeID1ime the Government's corotention that the .information contained in the Docume,t1it (on

every page, no l,ess) -

                           - constitutes "national defense information" (information which may raise

a reasonable doubt in a juror's mind about guilt or innocence).                      For example, these requests

(includi.ng Request Nos. 12, 21, 23, 24, 31, 33, 35, and 70) seek records and information

regarding the disclosure of identical or similar infonnation as that contained within the

Document at issue to various individuals or entities. 57




                                                                                                                   I
52
   See Ex. C & Ex. D.
53
   See supra, Part [V.C.
54
   See Doc. 182.
55
   See supra, Part JU.B.
56


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   See Ex. A (Request Nos. 12, 13, 21, 23, 24 , 26, 28, 29, 31, 33, 35, 40, 46, 63, 70, 84, and 96).
57
   See Ex. A (Request Nos. 12, 21, 23, 24, 3 I, 33, 35, 70).


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                                              -- would reflect the Government's decisfon that such

information was no( the secret the Government now says it is. 58 In other words, the disdosure of

this information to individuals or groups with lower tham a Top Secret clearances would reflect a

judgment by the Government Vha1t the disclosure of such information need not be "closely held"

or would not cause the grave harm it now claims Ms. Winner's alleged disclosure caused -- two

prongs of the required ' 'national defense information' ' element. 59 At a minimum, because the

                                                                                   60
determination ofwhether the document constitutes ND! is a jury is!.ue                   the Defendant is entitled

to discovery on this point -- particularly because the Government has, through its expansive view

of NDI, made this information relevant. 61

         Instead of granting these straightforward reque.sts, with a fow exceptions, the magistrate

judge decided the Defendant was only entitled to unclass(fied information concerning the most

specific portions of the Document, which is also "non-FOUO" infonnation. 62 The rationale for

these rulings appears to be the magistrate judge's view that the Document only encompasses

narrow facts and/or that the Government has limited its view of NDI - two positions that are

simply wrong, as set forth above and as set forth in the attached declaration. 63 Tellingly, there

were occasions when the magistrate judge clearly understood that such rulings would be

handicapping the defense, and contemplated requiring the production of broader information to

be utillzed by the Defendant -- only to be pushed back when the Government objected with




s• See Ex. B (Leonard Deel.) at pp 7-10 (fl 16-20).
s9 See id.
60
   Doc. I 12 at p. 5 (citing Gorin , 312 U.S. at 31-32).
61
   See supra, Part IV.C
61 See Tr. of Proceedings, Nov. 30-Dec. I, 2017, at 207:25-208 :208:9 (pennitting only unclassified, non-FOUO,

documents).
63
   See supra, Part IV.C; Ex. B (Leonard Deel.) at p. 4 (,i 10).


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W1founded concems. 64 Indeed, in at least one occasion, the magistrate judge expressly checked

with the Government to ensure it had no objections to his changing of rulings regarding the

requested discovery. 65

         The magistrate judge's rulings regarding these requests have severely handicapped Ms.

Winner's ability to not only prepare for trial, but even assess ,the strength of the government's

ca5e. In fact, the defense's engaged expert cannot fully conduct his analysis in determining

whether the information al issue constitutes NDI without such records.66 For those reasons, the

magistrate judge's rulings were clearly erroneous, contrary to iaw, and should be reversed.

         3.       Category No. 3: Rec,o:rds Retlee,tin_g Analyses of tbe l:rdtrrmation Contaiined
                  ln the Document 11ndlor Amllyses Relating to th,e D'iscfosure of the
                  Information Contained in the Document At Issue (Request Nos. 8, 9, 10, 17,
                  18, 20, 22, 25, 27, 30, 32, 34, 36, 39, 96)

         Likewise, the above-listed requests seek analytical products relating to the information

contained in the Document and/or decisions to disclose the information contained within the

Document. This information is similarly "relevant and helpful" to the defense because it would

reflect the Government' s analysis as to whether similar or identical information as that contained

in the Document -

- - needed to be "closely held" or would cause damage if disclosed. 67 Indeed, given the
                                                                                                                         f
requirements of the Espionage Act, it is harder to fathom records more relevant than the

government' s own analysis of how sensitive each piece of information contained in the
                                                                                                                         I'
64
   Compare Tr. of Proceedings, Nov, 30-Dec. I, 20 I 7, at 257:16-19 (regarding Request No . 28 [Request 3(g) of
                                                                                                                         i
                                                                                                                         ~


                                                                                                                         .

Defendant's Second Set of Discove . ma •i trate ·ud e rderi
of information that " concern []
                                                                    h          ·          ument.s regarding disclosure
                                                                                        . with 259 : I &-260:6
(magistrate judge changing his ruling in the face of governmental objections on the same document request, ordering
the production of the same information but limited to the activity described in the report) .
6
 ' See Tr. of Proceedings, Nov. 30,Dec. l , 2017, at 260:3-6 ("THE COURT: And is that acceptable to the
                                                                                                                         I
iovemment? MR. AARON : It is, Your Honor, .. ").
   See Ex. B (Leonard DecL) at pp . 7- l 0 (,1 16-20).
 7
~ See Ex. B (Leonard Deel.) at pp. 7-10 {fl l 6-20).




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Document is.      If, for example, there are statements or analytical products produced by

government agents within the.ir official duties indicating that the disclosure was not hannful,

those kinds of statements would constitute Brady evidence because they would undermine an

essential element of the charge and could alter a jury's view of guilt or innocence.'68

        As an illustration, given public reponing, the defonse is aware that similar or .identical

infonnation as that contaiaed in the Document lrns shared with individuals and/or ,entities that do

not have a Top Secret cJearance. 69 Before the government's intentional decision to disclose the

information reflected in these public reports, there almost certainly ,vas some internal analysis

(and accompanying communications, drafts, working papers, etc.) about whether the disclosure

could be made; what portions of .the information could not be disdosed due to sensitivity

concerns; how tfhe information at issue could bt! d:Lc;;dosed; and whethe,r the disclosure ,o f that

infonnation would result in harm to the national security.

        The magistrate judge's ruling, however, not only precludes the production of such

analyses, but even whether the government must determine and acknowledge whether such

contrary evidence to their case exists. Different than other criminal cases, the Defendant here

must rely on the Government and the Court to discovery whether such information exists, as the

Defendant has no ability to hire an investigator or visit -        and conduct pre-trial interviews

of witnesses.   The sole source of much of this critical evidence is the government; and the

Defendant must rely on the Court to require it to produce relevant infonnation - including

analyses discussing the sensitivity of some of the information contained in the Document - in an

effort to protect her due process rights.




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         Indeed, a glaring cxampie illustrates the point: tmagme, for instance, an internal

governmental analysis reflecting that




                                                      Such a document would unql:lcst-ionably be Brady

evidence (because it would demonstrate that some of the same information contained in the

document at issue was not NDI) and would certainly clear the low bar of being "relevant and
                               71
helpful" to the Defendant.          Moreover, these analyses would be relevant and helpful irrespective

of the dassification of those documents_; in other words,



                                    would not cause damage would itself, in spite of the analysis itself

being classified, be "relevant and helpful." 72

         The magistrate judge, once again, denied these relevant documents, requiring the

production of only unclassified analyses, that relate to the specific incident described in the

Document




10
   See Ex. G. On this point, the magistrate judge disallowed some of this evidence apparently in part because it
implies that "our government can ' t discuss important national affairs based on sensitive information it accesses.
don't buy that." Tr. of Proceedings, Nov . 30-Dec. I, 2017 at 48:2-4. However, that is not what the defense was
arguing at all; no one is suggesting the Government cannot engage in high,level foreign policy with sensitive
infonnat.ion. However, if the Government is Later going to criminally charge an individual with disclosing some of
that same infonnation - which may have been transmitted in this case to our adversary - discovery on that
transmission would be undoubtedly relevant to establishing that the information is not NDl (given its disclosure).
71
   See Ex. B (Leonard Deel. at pp. 8-9 (119).
n See id.


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                                                                               Those rulings_, for the reasons set

forth above, are in error and must ·be reversed.

                  4.




                                                                                                                   •
-----·----
         Given these revelations, the Defendant understandably sought additional discovery

relating to these                             including but not limited



73
   See Ex. A (Magistrate Judge ' s Rulings for Request Nos. 8, 9, I 0, 17, 18, 20, 22, 25, 27, 30, 32, 34, 36, 39, 96 &
Transcript citations therein) .
74
   Doc. 120 (Classified Detention Hearing transcript) .
75
   See Government's Oct. 5, 2017 Response to Defendant's August 29, 2017 Discovery Requests at p. 4 (attached as
Exhibit E to Doc. 162).


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                                                                          in response to the publication of the

document (Request Nos. 4, 47, 56, 57, 77, 78, 79, -80~83). To his credit, Magistrate Judge Epps,

at the hearing on November 30, 20 l 7 and December 1, 20 I 7, granted many of the requests
                                                    76
associated with this category of records.                The magistrate judge righdy concluded that, the

Defendant was entitled to test these alleg,ations by receiving, documents underlying, or supporting,
                           77
                                Shockingly, the Government advised both the Court and the parties that

no .documents, records, or anything - oJ aJJ - support \his                                         _18   \f   ~.79   \be

Defendant includes these requests so that the Court may issue a written order containing the

Govennne.o t's c.oncession that hs                               is not buttressed by anything in writ~ng.. lf,

however, there are responsive documents to these requests that the Government has been able to

locate then, pursuant to Magistrate Judge Epps' s rulings, the Government should be required to

produce these records. 80

                    5.      Category No. 5: Documents Relating to the Government 3 NDJ Points
                            (Request Nos. 102-105)

           As noted above, at the hearing on November 30 and December 1, at the magistrate

judge's urging, the Government supplied the defense with three additional information points,



76
     See Ex. A (Magis.·trate Judge 's Rulings ~ 6, 57,                  77, 78, 79, 80-83).   Likewise, as. set forth in
the attached declaration, these records o f - - - - a r e relevant to the analysis of whether the
information constitutes NDI. See Ex. B (Leonard Ded.) at pp. 10-1 l (fl 21 -23).
77
   Tr. of Proceedings, Nov. 30-Dec. l , 201.7, at 155:18-25, 156:11-22, 284:6-8.
78
   Tr. of Proceedings, Nov. 30-.Dec. l, 2017, at 116:6-14; 1.52:5-1 l; 156: 11-2.2; 157: 12-158: 12..
79
     At ~he h e a ~ i n ~ n t advised that i! would go back and check to see if additional information exists .
associated w i t h - - Tr. of Proceedmgs, Nov. 30-Dec. l, 2017 at 158:13-1.6. As of the date of the filing
of this Appeal, t h e ~ e t to receive any additional information.           .
80
  furthermore , i f . - - i i w a s prepared with the assistance of counsel, then the Government, consistent
with federal law, should be required to provide a privilege log reflecting the status of any responsive documents over
which it is asserting any privilege.


                                                         29
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wh1ch it npparent\y contends are the most sensifrve port~ons of the document at issue. These

three points are, of course, supplied in addition to its stated position that the entirety of the

document is NDI. 81 Upon receiving these po.ints, which are extremely conclusory in nature, the

defense requested discovery regarding them - only to be denied, with a few exceptions, by the

 magistrate judge. 82



3 NDI points, are certainly "relevant and helpfui" to the defense. 83 For example, while the

Government contends that the disclosure of the documen,t at issue




                        4
                            Thus, Request NG. l02 ~k,; the

                                                                                                  Putting

as·ide the Government's injection of this point into this case (which, by definition, makes it

relevant and opens the door to discovery on it), the requested iofonnation is "relevant and

helpful" to the defense bec~use if that




         Likewise, Request No. 104 is geared towards the Government's third NDI point, in which
                                                                                                            I
                                                                                                            '
it contends that the                                                                                        II
                                                                                                            I
                                                                                                            I
81
   Se e Government's Notice Pursuant to Sect.ion 10 of CIPA, filed Dec. 14, 2017 , at pp. 2-J .
82
   See Ex. A (Request Nos. 102-105).
83
   See Ex. B {Leonard Deel.) at p. I I (,Ml 24-25).
u See id
 5
& See Ex. A (Request No . 102).
86
   See Ex. B (Leonard Deel.) at p. 11 (~ 24).


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                                                                                      -
                               Again, this request seeks records that would allow the Defendant to

detennine whether this "infom1ation" is not NDI. 90

         DenyLng this discovery, as the magistrate judge did, ·effectively cuts off very plausible

defenses Ms. Winner is entitled to assert before the jury.

                   6.       Oatego:ry No. 6: Documents th-e Defen<l.a.rrt Saw and/or Became Aware
                            of During the P,e.rtfne:oit Time :Period (Request Nos. l, 58, 99)

         Another set of requests seek infonnation Ms. Winner saw and/or became aware of

involving some of the sarne information contained within the Document during the same time

period. As with any case involving a "willful" mens rea standard, such information is "relevant

and helpful'' because it would reflect the Defendant's state of mind at the time of the alleged

offense. 91

         For example, perhaps the most obvious example of the Government's deficient discovery

is its response to Request No. 58, which seeks information tbe Defendant viewed on -

. . (the database the Government contends the Defendant accessed to unlawfully obtain




87
   See Ex. A (Request No. 104).
83
   See id.
89
   See Ex. B (Leonard Deel.) at p. I 1 (Y 25).
90
   See id.
91
   Doc. Nos. l 12, 132.


                                                   31
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possession of the document). 92 To begin with, the Government has already supplied certain

unreadable information concerning what Ms. Winner saw on -                          yet, despite the

Defendant's objections that it cannot understand format. The magistrate judge only requires the

Government to un-redact -           specifically pertaining to the Document .at issue - and nothing


                                                                                                        I
              1




else. 93 As an initial matter, the Defendant is entitled to the unredacted material under the Rule of

                  94
Compieteness.

        More t,o the point, however, the logs reflecting what the Defomdant specifically viewed on

- a r e relevant and helpful because it would reflect her state of mind as to the particular

pieces of information contained 1n tme document at the time ofithe alleged offense. 95 According

to the Government, it was on this system that Ms. Winner located and printed the document.

This system, from information ,the Government has provided, was availabte to nearly -



                                                           Given the prevalence of this system and

the widespread nature of its distribution, it is entirely plausible that a              with similar

infonnation as that contained in the Document could have been viewed by the Defendant in

                                                                                      which would,

in her mind, have an impact on how ''closely held" the infonnation in the document was being

held by the Government (and what harm, if any, would result from its disclosure).           Without

production of the information the Defendant saw, however, the defense cannot even determine

whether this is a viable defense (let alone gather appropriate evidence to submit it to the jury).




                                                  32
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. Given the '' witlfulness' ' standard the Govemment must prove, documents Ms. Winner

specificaUy saw - information readily availab1e to the Government - is undoubted:ly relevant and

helpful to her defense. 96

          Likewise, it is enitirely plausib:le (indeed, given the subject m a tter of the Document_.

likely) that the Defondanit saw documents that contain informa·tion

                                                                                  and then saw the very same

informati.o n on the evening news - indicating, to her, ,that some of that infonnati.on was already

in the Jmblic domain and therefore, as she told the FBI agent, the disclosure of the information in

the Document was simply a ''drop in the bucket. " 97 Being able to pull the public reporting, and

connect that public reporting to doc·wnents !held by ·our Government a:nd potentially seen by the

Defendant., can connect the dots for the jury (hat Ms. Winner·' s reasonably-held belief at the time

of the disclosure was that the in fonnation contained in the Document (despi,te its classification)

was not NDI. 98

         The magistrate judge inexplicably determined, in a conclusory fashion, that many of

these requests were not material to this case. 99               For the reasons set forth above, the rulings

addressing the records requested that bear on the Defendant' s mens rea are in error and must be

reversed.




Ms. Winner 's tenure at Pluribus. The defense knows that there are articles that Ms. Winner may not have
specifically accessed but nonetheless became aware of. Thus, irrespective of whether the Defendant expressly can
show, with exactitude, that Ms. Winner specifically accessed particular anicles - an impossible burden, especially
for a d:etained defendant~ that app\\rently th.e magistratejudge required (Tr. of Proceedings, Nov. 30-Dec. l , 2017, at
90: 17-18) - information that was available to her because of her security clearance and touches on the topics
contained in the document that she likely became aware of during her tenure at Pluribus is relevant and helpful to
determining Ms. Winner's state of mind at the time of the alleged offense.
97
   Doc . 189-2 (Redacted FBI Interrogation) at USAO-08173 ("I just figured that . .. this report was just going to be




                                                                                                                           l
like a-one drop in the bucket." }.
98
   See Tr. of Proceedings, Nov. 30-Dec. I, 2017, at 91: 17-94:23 .
99
   See Ex. A (Magistrate Judge's Ru h ngs for Request Nos. 1, 58, 99).


                                                           33



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                      7.       Category No. 7: Records Regarding The Govre rnment's Position That
                               the Defendant Was The Individual Who Leaked The Document
                               (Request Nos.. 42, 50, St~ S2, 53~ 59~60~ 69)

            Other documents requested by the Defendant indude gove.rnmental records supporting its

view that she was the individual who actually disclosed the Document at i~sue.                       While the

magistrate judge granted some of these requests., he denijed others. For example, Request No. 53

seeks h1formatio:n on other individuaif who access.e d the very same Document - in a d,ifterent

                                                           100
format - from other governmental databascs.                       Likewise, Request No. 60 seeks infonnation on

other governmental employees who printed simiilar documents as that at issue. 101 Su.ch :records

may be used by the Defendant to identify the true culprit. Nonetheless, the magistrate judge

denied these records, simply finding, in large measure, they were not relevant or material. 102

Again, it is axiomatic that .r ecmds demo.nstrating another ,individual may ,be ,the pe.rpetrator

would satisfy the Jow threshold here.

                     8.        Category No. 8: Records Relating to the Security of the Document
                               (Request Nos. 2, 3, 14, 44, 45, 66, 75, 76)

            One element o.f this offense the Government must prove, as noted above and as both

parties agree, is that the information contained in the document was " cl osely held" [Doc. 112].

While the Government will no doubt rely on the document' s classification as "TS // SCI" as

evidence that it was " close ly held," as previously briefed before the Court, classification is not

dispositive to this determination [Doc. 112]. If the Defendant obtains records reflecting that the

Government did not undertake steps to hold the information close, she may use such evidence

before the jury in arguing that the Government cannot satisfy the NOi element that the

information be "closely held." In this vein, the defense has propounded numerous document

100
      See Ex. A (Request No. 52).
101
      See id. (Request No. 60).
102
      See Ex. A (Magistrate Judge's Rulings for Requests 42, 50, 51 , 52, 53 , 59, 60, 69).
                                                                                                                  t
                                                             34
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 requests, including the abov,e -listed requests, seeking information on how closely the
                                                                                                 103
                                                                                                                     I
Government held the document and the information contained in the document.

         For example, in Request No. 3, :the Defendant sought information concerning how the

document was kept -
                                                                          104
                                                                                If, for example, this document was

kept with many other Documents that were unclassified or classified at a :J evd lower than "Top
                                                                                                                     I
-Secret," such evidence would be probative of the Government' s treatment of the · information

contained ,in the document             In other words, the less secretive the Governme.nt ,treated the

information at issue, the less likely it could prove that it was "closely held," a required element

of the offense. Once again, in a conclusory fashion, the magistrate judge denied this discovery,
                                                        105
stating that it was not relevant to this case.                    Such order was in error; this discovery w~uld

support ,t he .Defendamt's view ,that the document at issue ,vas ·rnot "closely held" ancl therefore,,

negate this element of the offense. The same rationale holds true for the other requests in this

category - which arc all geared toward determining whether the Document was "closely held,"

an element of the offense. The magistrate judge' s rulings should be reversed.

                  9.        Category No. 9: Documents Reg,arding the Government's 404{b)
                            Notice (Request Nos. 85-88, 90-95, 97-98)

         On November 6, 2017, the Government served the defense with an Amended Notice

Pursuant to Rule 404(b) of the Federal Rules of Evidence, which listed a laundry-list of items -

not charged as crimes - that the Government seeks to introduce to, among other things, smear the

Defendant (along with her political and personal beliefs) before the jury. The Defendant has

moved to exclude each piece of noticed information [Doc. 166] and the Government has opposed

the exclusion of these items [Doc. 188]. Assuming the Court permits these items of evidence

103
    See Ex. A (Request Nos. 2, 3, 14, 44, 45, 66, 15, 76).
104
    See id. (Request No. 3).
105
    See id.


                                                             35
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before the jury (despite the Defendaofs grounds tha,t tltey are inadmissible, as set forth in her

motion in limine), the defense has propounded several discovery requests seeking to address

these allegations, and to be able to either contest them or explain them through extenuation or

mitigation. 106     Given the Government's request to irtject these items of evidence into thi.s case,

the discovery sought is certainly re'levant and 'helpful to the defense so as to allow the jury to

understand the full context of them.

         As an mustration., tbroug:hout this case, tlhe Government has made muc:h of the facl that

this Defendant, with .her "years of trainfa1g" and "expertise,'·' oblai·ned a so-calkd "covert

communications package" (including utilizing a TOR browser and creating an "anonymous"

email address ,on slippery.email) in or around her time as an NSA contractor. so that she may

"operate anonymously onlfoe." 107            1f pennitted at trial, an accompanying piece of relevant

evidence would be bow many other NSA ,employees or contractors have searched for such tools,

so as to place these activities in the proper context - as opposed to the Government' s highJy

prejudicial spin.     Thus, Request No. 87 seeks these records. 108       These . r~cords are certainly

" relevant and helpful" to the defense because they place the Government's spin on the in the

proper context for the jury. For example, if thousands of NSA employees or contractors have

searched for similar "covert communications packages," such evidence would be helpful to the

Defendant to show that the mere utilization of an privacy~enhancing web bro\vser or email does

not lead to the conclusion the Government draws from it - that such persons are leakers of

classified information.




106
    See Ex. A (Request Nos. 85-88 , 90-95, 97-98).
107
    Doc. I 88 at p. I 5,
108
    See Ex. A (Request No. 87).


                                                      36
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         Likewise, the Government seeks to admit records relating to what clearly was an

innocuous mistake by the Defendant months before the alleged leak, i!n February 2017, when Ms.

Winner purportedly brought an unclassified document to an NSA cafoteria (a violation which the

Defendant apparentJy reported herself). 1-09               The Government asserts that this accident of

"mishandling'' d assifie,d information ''provides rare d~rect evidence of mens rea."Ho                            If so

probative., then so would, too, other records of other NSA employees or contractors who may

have mishandled cfassified informatio.o, so as to place Ms. Winner ' s singular accidelilt in context.

Request No. 98 seeks such records, which would be ''rdevant and helpfur · to the Defendant
                                                                                            111
because, again, it would place this singular incident it the proper context.                      If, for example, the

majority of NSA employees or ,contr:actors have had similar, ,in:n ocuous security .incidents in their

past, that evidence would be hdpful to show a jury that the Government' s deductions - once a

"mishandler'' always a "mishandler" - are inaccurate. 112

         Magistrate Judge Epps denied these two requests, and the other requests relating to the

Government's 404(b) notice, in a conclusory fashion , simply stating that they were not

relevant. 113 While the Defendant agrees, in the first instance, that the pieces of information the

Government seeks to use through its 404(b) Notice are not relevant, if the Court permits them at

trial then, conversely, it renders Ms. Winner ' s requests - which seek to place these pieces of

information in the proper context for the jury -· relevant and helpful to her defense, and therefore,

discoverable.



1
 (1'1 Doc. l88atpp. 17- 18.
110
      Doc. 188 atp . 17.
111
      See Ex. A (Request No. 98).
11 2
      Moreover, the Government' s hyperbole that the ''cafeteri a" incident is direct evidence of mens rea, is belied by
the fact that Ms . Winner apparently reported the violation herself in what was clearly a mistake of simple negligence
-.. not intentional wrongdoing, as the Government is required to prove in this case. See, e.g. Doc. 112.
113
      Se e Ex. A (Request Nos. 85-88, 90-95, 97-98).


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                  10.



         In addition to requesting sipecific documents about




---··                                                      --·--
                                                               -
                                                 TJhe documents in this category are relevant and helpful

to the defense for simjlar reasons as Categories 2 and 3, above. 115                        For instance, if the

Government has in its possession documents reflecting activities by the same actors, using the

same techniques, during the same time period, that are classified at less than "Top Secret" levels,

(even if such documents are not specific to the disclosure of this information [like Category 2] or

any analyses of the. discfosure of this infonnation [like Category 3]),. those documents would
                                                                        116
likewise be relevant to the NDI element of the offense.                       [n   other words,



                          would demonstrate to the jury that the information - which is similar or

identical to that contained in the document allegedly leaked - was not ''closely held" or its
                                                                                               17
disclosure would not cause the


114
    See Ex. A (Request Nos . 5-7, l l, 16, 28, 37 , 38, 41, 61).
115
    See Ex. B (Leonard Deel.) at pp. 7-10 (i!,J 16-20).
116
    See id.
117
    Additionally, to the extent the Defendant saw or was made aware of such documents - as she has advised she was
- that would reflect she did not act with the requisite mens rea and would corroborate her statement to the FBI agent


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         As with the documents requested in Categories 2 and 3, the magistrate judge denied these

discovery requests, except to pem1it the discovery of unclassified documents, whkh are "non-

FOUO,:'' spec(fic to the most particular pieces of iwforrnation as that oontaiin;ed in the document
            118
at issue.         For the reasons set forth above, this narrow reading of the document - particularly in

light of the Government's broad positions regarding what is NDI in this case 119                              -   and

accompanying rulings on these discovery requests, was in error and should be reversed. As

demonstrated by the example above, these records would allow the Defendant to show that the

Government cannot meet its burden on the NDJ element.

                     11.    Category 11: Re.-c,o:rd:s Relutin·g :to the Uocurneoit, Its Autho·r,, a,n,d           jt,;;
                            Classified Naturt (Request Nos. 15, 19, 48, 6l)

         The Defendant also propounded a handful of requests specifically directed to the

document itself, its author, and determinations made by the government regarding the sensitivity

of the information contained therein. 120 These requests satisfy the low bar of being "relevant and

helpful'' to the De fondant because they reflect, contemporaneous with the document's creation,

the view of the Government as to the sensitivity of the information - evidence pertinent to the

NDI element of the offense. 121               For example, if the author of the document has a

contemporaneous emai] whereby he/ she documents that certain portions of the document are not

as sensitive as other portions of the document, such evidence would be directly relevant to the
                                                                                                                  122
Defendant's view that (at least some of) the information contained in the document is not NDL




during her interrogation that she believed the infonnation in the document was simply a "drop in the bucket'' or had
already been "compromised." Doc. 189-2 (Redacted FBI Interrogation) at USAO-08172-73 .
11 8
     See Ex. A (Request Nos. 5-7, 11, 16, 28, 37, 38, 41, 61 ).
ll'I See supra, Part IV.C.
120
     See Ex. A (Request Nos. 15 , 19, 48, 62).
121
     See Ex, B (Leonard Deel.) at pp. 12-13 (1'!126-28).
122
     See id.


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Likewise, if there are memoranda discussing why certain portions of the document are classified

 in a particular way, such infom1ation is pertinent for the same reason. 123

          Separately, failing to require the production of these records raise Constitutional

concerns. Among odmr things, obtaining ,information so that the Defendant may confront •the

classifier - who is, after all, making a testimonial assertion that wiH be used against her - raises

Coafton\a\iion C\ause ,conce:m-s,. 124 Likewise, akin to a c.onfidenfra\ information_, \.be 1denfay of

the dassificr, and associated fofonnafi.on involving his/her decisions, ,raise Due Process concems
                                 125
requiring their disclosure.            Magistrate Judge Epps simply denied these requests as not being

'" relevant" despite their bei·ng directed to aro el'ement of itbe offense. 126 For the reasoms set .forth

above, those rulings were in error and should be reversed.

V.       ConcJuslcm

         For the reasons articulated above, the Detendant requests that this Court reverse the

magistrate judge's order and rulings on the specific, above-listed document requests (and those

listed in Exhibit A) that are the subject of her Motion to Compel. To further articulate the bases

for each request, the Defendant also requests a hearing on this appeal.




123
     See id
114
     See, e.g. Bullcom ing v. New Mexico, 564 U.S. 647 (2011).
i is See, e.g. Roviaro, 353 U.S. 53 ; United States v. Rutherford, 175 F.3d 899 (I I th Cir. 1999)
126
     See Ex. A (Request Nos. 15, 19, 48, 62).


                                                           40
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Respectfully submitted,

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                                                                                         I

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                        EXHIBIT A

DEFENDANT'S DOCUMENT REQUESTS & MAGISTRATE J UDGE'S RULINGS




                                                                          1
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                             Sp~Hic ~equ~t II                                                                                                                   Magistrate Judge's
                              . Discov~ey Set                                                                                                                          Rufino
                      Fit'st S~t of Discovery                                                                                                                   Granted in part and
                                                                                                                                                                    I

                                                                                                                                                                      -ed--
                      Requests, Request No. l (d)                                                                                                           the Denied in part.
                                                                                                                                                         either
                                                                                                                                                       became

                                                                                                                                                                        during         the        time
                                                                                                                                                                        period      in       question
                                                                                                                                                                        that




                                                                                                                                                                        denied as to the
                                                                                                                                                                        remainder as   not
                                                                                                                                                                        being relevant or
                                                                                                                                                                        helpful

                                                                                                                                                                        (Tr. at 130:25-131 :4;
                                                                                                                                                                        131 :8-21; 133:12-20;
                                                                                                                                                                        207:2-6




2
  Except where otherwise expressly limited, the beiow requests contemplate and encompass documents, within the broad scope of Fed. R Crim. P. 1.6 in the possession, custody, or
oontrol of any branch of the United States Federal Government. The Defendaot understands that it is the Government's position that the following agencies are outside the scope
of its discovery obligations: CIA, DHS, Dot> (other than- and lf$AF),1'1ational Security Coun-ci l, NARA, ODNl, and-the White House~Office. Without agreeing to this
limitation, in the interest of time, the Defendartt wili be issuing Rule 11 subpoenas to those government eotities for which the Government has identified as falling outside of the
scope of its discovery obligations.
                                                                                                                                                                                     2




    '.'"::-:='.~ - - ~-•Mb                  r+ nrMAHU&4#¾¥·--+1te-s..u   \W&-Pm1e   mi   . ;;;:z;      , ~. , ~ ~ ~ 2 : ; : : c , , . ~ , ~ o ~ · / ~ c ; - ~ ~ ,:-2¾.C"i.,., c . r . : ; _ ~ : < . 1 ' : · - - - - - -
                                      Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 44 of 170




                     Sp'eeific Request ll                                                                                                                Magistrate Judge's
                       Discovefl .$el                                                                                                                          Rufi.a·
                 First Set of Discovery                                                                                                                Granted in part and
                 Requests, Request No. l(e)                                                                                       (Records regarding I Denied in part.
                                                                                                                                  the security of the
                                                                                                                                  Document)          I Granted only as to the
                                                                                                                                                       total number of users
                                                                                                                                                       with access to •
                                                                                                                                                      -                Denied
                                                                                                                                                       in all other respects
                                                                                                                                                       as. not being relevant
                                                                                                                                                       or helpful.

                                                                                                                                                         (fr. at    147:12-19;
                                                                                                                                                         207:7-13
      3.         First Set of . Discovery                                                                                         8                      Denied.
                 Requests, Request No. 1(f)                                                                                       (Records regarding
                                                                                                                                                     I
                                                                                                                                  the security of the (Tr. at 149:17-19;
                                                                                                                                  document)           207:14-16




                                                                                                                                                                I
4
    The capitalized term " Document," as used herein tefers to the " intelligence reporting" described in the Superseding Indictment

                                                                                                                                                                              3
                Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 45 of 170




   S)>ec'ific Request ll                                                                                         .~ gistrate Judge's
      Di~~overy Set __ _                                                                                                Ru.lin
First Set of Discovery                                                                                           Granted in part and
Requests, Request No, 2(a)                                                                                       Denied in part.

                                                                                                                 Granted only as to
                                                                                                                 providing documents




                                                                                                                 Tr. at 207: 17-25




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                                Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 46 of 170




                     S~itfc Request//                                                                     Magistrate Judge's
I . ·-----~- I        DJ,~~ov~ry Set                                                                           Rulin
                 First Set of Discovery                                                                   Granted in part and
                 Requests. Request No. 2(b)                                                               Denied in part.

                                                                                                          Granted only to tbe
                                                                                                          extent it calls for (a)
                                                                                                          documents relating to
                                                                                                          the Government's 3
                                                                                                          NDI points; and (b)
                                                                                                          the production of
                                                                                                          unclassified,     non-
                                                                                                          FOUO            reports
                                                                                                          published by        the
                                                                                                          Government          for
                                                                                                          public consumption
                                                                                                          regarding the specific
                                                                                                          incident described in
                                                                                                          the        Document.
                                                                                                          Denied in all other
                                                                                                          respects.

                                                                                                          (Tr. at 208:2~-~02_:9)




                                                                                                                                   5
                                                       Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 47 of 170




                                  S~clfic R~uest //                                                                                                                                                                     Magistrate Judge's
                                 Uis~overy Set                                                                                                                                                                                    Rulnr
                           First Set of Discovery                                                                                                                                                                                                 and
                           Requests, Request No. 2(c)

                                                                                                                                                                                                                       Granted only to the
                                                                                                                                                                                                                       extent it calls for (a)
                                                                                                                                                                                                                       documents relating to
                                                                                                                                                                                                                       the Government's 3
                                                                                                                                                                                                                       NDJ points; and (b)
                                                                                                                                                                                                                       the production of
                                                                                                                                                                                                                       unclassified,     non-
                                                                                                                                                                                                                       FOUO            reports
                                                                                                                                                                                                                       published by the
                                                                                                                                                                                                                       Government          for
                                                                                                                                                                                                                       public consumption
                                                                                                                                                                                                                       regarding the specific
                                                                                                                                                                                                                       incident described in
                                                                                                                                                                                                                       the        Document.
                                                                                                                                                                                                                       Denied in aH other
                                                                                                                                                                                                                       respects.

                                                                                                                                                                                                                       {Tr. at 208:25-209:9




                                                                                                                                                                                                                                                       6




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               Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 48 of 170




   Specific Request II                                                                                                                                                  Magistrate Judge's
     D'iscoven: S~t                                                                                                                                                               Rulin
First Set of Discovery                                                                                                                                                                             and
Requests, Request No. 2(d)

                                                                                                                                                                      Granted only to the
                                                                                                                                                                      extent it caJls for (a)
                                                                                                                                                                      documents relating to
                                                                                                                                                                      the Government' s 3
                                                                                                                                                                      NDI points; and (b)
                                                                                                                                                                      the production of
                                                                                                                                                                      unclassified,     non-
                                                                                                                                                                      FOUO            reports
                                                                                                                                                                      published     by the
                                                                                                                                                                      Government          for
                                                                                                                                                                      public consumption
                                                                                                                                                                      regarding the specific
                                                                                                                                                                    · incident described in
                                                                                                                                                                      the         Document.
                                                                                                                                                                      Denied in all other
                                                                                                                                                                      respects.

                                                                                                                                                                       Tr. at 208:25-209:9}




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                                                                                                                                                        ·®-   -, t!!- ---- ~ ~ ~ E : ! Z Z ! J . 2 ~ \ 1 8 % - N n d & ~
                                         Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 49 of 170




                           Spe(t:i(Jc Request II                                                                                                                                       Magistrate Judge's
   I _.-~-- __ I .            I)lsc_overy S~t                                                                                                                                               Rulin      ,
                        First Set of Discovery                                                                                                                                        Granted in part and
                        Requests, Request No. J(c)                                                                                                                                    Denied in part.

                                                                                                                                                                                      Granted only to the
                                                                                                                                                                                      extent it calls for (a)
                                                                                                                                                                                      documents relating to
                                                                                                                                                                                      the Government's 3
                                                                                                                                                                                      NDI points; and (b)
                                                                                                                                                                                      the production of
                                                                                                                                                                                      unclassified,     non-
                                                                                                                                                                                      FOUO            reports
                                                                                                                                                                                      published     by    the
                                                                                                                                                                                      Government          for
                                                                                                                                                                                      public conswnption.
                                                                                                                                                                                      Denied in all other
                                                                                                                                                                                      respects.

                                                                                                                                                                                       Tr_.at 232_:__4--9_1_ _




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                      Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 50 of 170




          Specific Request II                                                                              Magistrate Judge's
            :Ojscoverv Set                                                                                                 Rulin
      First Se't of Discovery                                                 3                           Granted in part and
      Requests, Request No. 3(d)                                              ( Analyses of               Denied in part.
                                                                              infonnation
                                                                              contained in the           Granted only to the
                                                                              document and/or            extent it calls for the
                                                                              analyses of                production           of
                                                                              disclosure of              documents regarding
                                                                              infonnation                declassification     or
                                                                              contained in the           potential
                                                                              document)                  declassification of the
                                                                                                         Document at issue.
                                                                                                         Denied in all other
                                                                                                         respects.

                                                                                                          {Tr. at 233:8-12
10.   First Set of Discovery                                                  3                           Granted in part                            anu
      Requests, Request No. 3(e)                                              (Analyses of                Denied in part.
                                                                              information
                                                                              contained in the            Granted only to the
                                                                              document and/or             extent it calls for the
                                                                              analyses of                 production                                    of
                                                                              disclosure of               documents regarding
                                                                              information                 declassification     or
                                                                              contained in the            potential
                                                                              document)                   declassification of the
                                                                                                          Document at issue.
                                                                                                          Denied in all other
                                                                                                          respects.

                                                                                                          (Tr. at 233: 19-20)

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                            Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 51 of 170




                Specific Requ«tl!                                                                                                                                   Ma.g istnte Judge's
                  Discovery Set                                                                                                                                            Rulin
           First Set of Discovery                                                                                                                                   Denied.
            Requests, Request No. 3(f)
                                                                                                                                                                   (Tr. at 234:4-5)




     12.    First Set of Discovery                                                                                                                         Granted in part and
            Requests, Requ~st No. 3(h)                                                                                                (Records relating I Denied in part.
                                                                                                                                      to the disclosure of
                                                                                                                                      information          Granted only to the
                                                                                                                                      contained within extent it calls for the
                                                                                                                                      the document)        production       of




                                                                                                                                                                     Tr. at 235 :11-17)




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                                    Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 52 of 170

                                                                              •••
                     Specific Request II                                                                                                               M:agistr.ate Judge's
                       DiscovervS.,t                                                                                                                         Rullo
                First Set of Discovery                                                                                                            Granted in part and
                Requests, Rc::-quest No . 7                                                                                  (Records relating I Denied in part.
                                                                                                                             to the disclosure of
                                                                                                                             information          Granted only to the
                                                                                                                             contained within extent it calls for the
                                                                                                                             the docwnent)        production           of
                                                                                                                                                  documents reflecting
                                                                                                                                                  the   disclosure of
                                                                                                                                                  information
                                                                                                                                                  contained    in     the
                                                                                                                                                  Document at issue in
                                                                                                                                                  an unclassified, non-
                                                                                                                                                  FOUO           setting.
                                                                                                                                                  Denied in all other
                                                                                                                                                      respects.

                                                                                                                                                      (Tr. at 235:24-236:7;
' - - - --__L~ - - - ~ --                                                                                                                             237:22-24)




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                                          Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 53 of 170



                                                                            First Discove              uest
    Request               Specific Reque~t //                                    Description                                             Category        Magistrate Judge's
    Number                  Discovery Se~ - - - - - - - 1                                                                                          --+---
                                                                                                                                                               Rulin
      14.            First Set of Discovery                                                                                         8                   Denied as moot.
                     Requests, Request No. 8                                                                                        (Records regarding
                                                                                                                                    the security of the Government      has
                 I                                                                                                                  Document)           provided the number
                                                                                                                                                        of Executive Branch
                                                                                                                                                        employees      with
                                                                                                                                                        access to Document
                                                                                                                                                        and has stated it will
                                                                                                                                                        be    providing the
                                                                                                                                                        identity    of     the
                                                                                                                                                        Executivr.:    Branch     I
                                                                                                                                                        employees         who
I                                                                                                                                                       accessed           the ·
                                                                                                                                                        Document.
I                I                                                                                                                                                                I
                                                                                                                                         - - - -- -(Tr.     - at-237:25-240:6)
I                ~- S
                     hrst     , ct   ot
                                       - D- .-- - - - - - - 1
                                        iscovcry
                     Requests, Request No. 9
                                                                                                                                  1----
                                                                                                                                    11
                                                                                                                                   (Records relating
                                                                                                                                                         1
                                                                                                                                                           Den ied.
                                                                                                                                                                    -

                                                                                                                                    to the document, (Tr. at 241:5-8)
                                                                                                                                    its author, and its [
                                                                                                                  -----'--
                                                                                                                         cl_a_ss_i_fi_cd_ nature)           _ _ _ ___ _




    ~ The Defen<lant re-C()rizes that the Government has re ~ponded to the latter   part of this request and infonned   the Defendant that



                                                                                                                                                                             12
               Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 54 of 170




   Spedfic Request //                                                                                                                                                                                    MagVJtrate Judge's
     Discoverv Set                                                                                                                                                                                               Rulin
First Set   of Discovery                                                                                                                                                                                                        and
Requests,   Request No.
1 l (a)
                                                                                                                                                                                                       Granted only to the
                                                                                                                                                                                                       extent it calls for (a)
                                                                                                                                                                                                       documents relating to
                                                                                                                                                                                                       the Government' s 3
                                                                                                                                                                                                       NDI points; and (b)
                                                                                                                                                                                                       the production of
                                                                                                                                                                                                       unclassified,     non-
                                                                                                                                                                                                       FOU O           reports
                                                                                                                                                                                                       published by the
                                                                                                                                                                                                       Government          for
                                                                                                                                                                                                       public consumption
                                                                                                                                                                                                       regarding the specific
                                                                                                                                                                                                       incident described in
                                                                                                                                                                                                       the        Document.
                                                                                                                                                                                                       Denied in all other
                                                                                                                                                                                                       respects.

                                                                                                                                                                                                       (Tr. at 241 : 15- i 8)




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              c-----~'"''*'*N~""'*".>".~~£~ ~ ~ , ~ ~ y ~ g 4 ° ' Q ~ i i ! - - l l l l l l - - - l f f i l l i l l l i i i ! ! ! B l \ l l l ! M f ! l ! ! l l l t : ·l
                                                                                                                                                                       ···!l!&W!l!l!!-!!l!'!l---.·i!lc!!lrnm---======~~::'."'l!Sll!IZI~-~~-
                                                                                                                                                                                                       ·""'"'-
                                Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 55 of 170




                                                                                                                                                       Magisfrate Judge's
                                                                                                                                                            Rulin
         First Set                                                                                                                                     Granted in part and
         Requests,                                                                                                                  (Analyses of       Denied in part.
         t l(b)                                                                                                                     information
                                                                                                                                    contained in the   Granted only to the
                                                                                                                                    document and/or    extent it calls for (a)
                                                                                                                                    analyses of        documents relating to
                                                                                                                                    disclosure of      the Government's 3
                                                                                                                                    information        NDI points; and (b)
                                                                                                                                    contained in the   the production of
                                                                                                                                    document)          unclassified,     non-
                                                                                                                                                       FOUO            reports
                                                                                                                                                       published     by the
                                                                                                                                                       Government          for
                                                                                                                                                       public consumption
                                                                                                                                                       regarding the specific
                                                                                                                                                       incident described in
                                                                                                                                                       the        Document.
                                                                                                                                                       Denied in all other
                                                                                                                                                       respects.

                                                                                                                                                         r. at 242:2-4}




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~   ::   M,.,,;r   ....   _ _ _ _.,         ;;Wt#.At       i,JJ!L;;;&:·-M   ;:.&;;;:£Ii\,,!¥-"'.-• -;•.,..   -~~-~,w..-___ -- _____ ,,,.,._               -~,,,,,.,,. ,..   "
                                                                                                                                                                            0~ ~ . --, : . , - . - - - .
                 Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 56 of 170




    Specific Request II                                                                                                                                                        Magistrate Judge's
      Discovery Set                                                                                                                                                                   Rolin:
First Set of Oiscovery                                                                                                                                                    Granted in part and
Requests, Request No. 3(a)                                                                                         (Analyses of                                           Denied in part.
                                                                                                                   information
                                                                                                                   contained in the                                       Granted only to the
                                                                                                                   document and/or                                        extent it calls for (a)
                                                                                                                   analyses of                                            docwnents relating to
                                                                                                                   disclosure of                                          the Government's 3
                                                                                                                   information                                            NDI points; and (b)
                                                                                                                 , contained in the                                       the production of
                                                                                                                   document)                                              unclassified,     non-
                                                                                                                                                                          FOUO            reports
                                                                                                                                                                          published by the
                                                                                                                                                                          Government          for
                                                                                                                                                                          public consumption
                                                                                                                                                                          regarding the specific
                                                                                                                                                                          incident described in
                                                                                                                                                                          the        Document.
                                                                                                                                                                          Denied in all other
                                                                                                                                                                          respects.

                                                                                                                                                                               Tr. at 242: 10-11)




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                                Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 57 of 170




                    S·pecific Request fl                                                                                     Magistrate .Judge's
                       Di!tovenr Set                                                                                                     .Rulin
                 First Set of Discovery                                                                               Granted in part and
                 Requests. Request No. 3(g)                                                       (Records relating Denied in part.
                                                                                                  to the document,
                                                                                                  its author, and its Granted to the extent
                                                                                                  classified nature)  it calls for       the
                                                                                                                      production          of
                                                                                                                      documents regarding
                                                                                                                      the classification of
                                                                                                                      the        Document
                                                                                                                      Denied in all other
                                                                                                                      respects.

                                                                                                                             {Tr. 243: 7-244:5




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   .,,,,..,,..                        ___________...,,___________,..,__________,,, ,C:.::s ~   *ft"~
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                                       Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 58 of 170




•
Requ~t
Number
                      Specific Requ,~ t.//
                         Discoverl Set
                                                                                                                                                                                                         Magistrate Judge '.s
                                                                                                                                                                                                                Rulin
  20.            Second Set of Discovery                                                                                                                                                                 Granted in part and
                 Requests, Request No. 2                                                                                                                        (Analyses of                             Denied in part.
                                                                                                                                                                information
                                                                                                                                                                contained in the                         Granted only to the
                                                                                                                                                                document and/or                          extent it calls for (a)
                                                                                                                                                                analyses of                              documents relating to
                                                                                                                                                                disclosure of                            the Government's 3
                                                                                                                                                                                                         NDI points; and (b)
                                                                                                                                                                contained in the                         the production of
                                                                                                                                                                document)                                unclassified,    · non-
                                                                                                                                                                                                         FOUO            reports
                                                                                                                                                                                                         published by the
                                                                                                                                                                                                         Government                        for
                                                                                                                                                                                                         public consumption
                                                                                                                                                                                                         regarding the specific
                                                                                                                                                                                                         incident described in
                                                                                                                                                                                                         the        Document.
                                                                                                                                                                                                         Denied in aH other
                                                                                                                                                                                                         respects. .

                                                                                                                                                                                                         Tr. at 244:22-245:3}
       21.       Second Set of Discovery                                                                                                                                                                 Granted.
                 Requests, Request 3(a)                                                                                                                         (Records relating
                                                                                                                                                                                                     I
                                                                                                                                                                to the disclosure of (Tr. at 245: 12~22)
                                                                                                                                                                information
                                                                                                                                                                contained within
                                                                                                                                                                the docwnent

6
    Communications as used in this discovery request, and any other discovery requests, includes but is not limited to Lyne conversations.

7
    The capitalized term "Document," as used herein refers to the ''intelligence reporting" described in the Superseding Indictment.
                                                                                                                                                                                                                                           17




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                                                                                              0                                                                                                 --   =-~           ~   ---   ~· ?:ti®t.·         :~~j
                       Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 59 of 170




          Specific Request'//                                                                     Magistrate Judge's
            Discovenr Set ·~                                                                            Rulin
22.   Second Set of Discovery                                                                     Granted in part and
      Requests, Request No. 3{b)                                               (Analyses of       Denied in part.
                                                                               information
                                                                               contained in the   Granted only to the
                                                                               document and/or    extent it calls for the
                                                                               analyses of        production           of
                                                                               disclosure of      unclassified,      non-
                                                                               infonnation        FOUO documents
                                                                               contained in the
                                                                               document)

                                                                                                  Denied in all other
                                                                                                  respects.

                                                                                                  (_T!, ~t 24§: 11_:_l 6




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         Specific 'Requcs't II                                                                        Magistrate Judge;s
           Discoverv Set                                                                                    Rullo
      Second Set of Discovery                                                                        Granted in part and
      Requests,   Request   No.                                                                  I
                                                                              (Records relating Denied in part.
      3(b)( l)                                                                to the disclosure of I
                                                                                                     Granted only to the
                                                                                                 I
                                                                              contained within extent it calls for the
                                                                              the document)          production        of
                                                                                                     unclassified,  non-
                                                                                                     FOUO documents




                                                                                                    Tr. at 247:12-19)
24.   Second Set of Discovery                                                 2                  I Granted in part and
      Requests, Request No. 3(c)                                              (Records relating Denied in part.
                                                                              to the disclosure of
                                                                              information          Granted only to the
                                                                              contained within extent it calls for the
                                                                              the document)        production          of
                                                                                                   unclassified,     non-
                                                                                                   FOUO documents




                                                                                                     Tr. at 250:3-8

                                                                                                                      19
                             Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 61 of 170




          Sp-c~cific Request II                                                                                                                                                                                                                    Magistrate Judge's
           J)iscoverv Set                                                                                                                                                                                                                                       Rulin
      Second St:!t of Discovery                                                                                                                                                                                                                  Granted in part and
      Requests, Request No. 3(d)                                                                                                                                                         (Analyses of                                            Denied in part.
                                                                                                                                                                                         information
                                                                                                                                                                                         contained in the                                        Granted only to the
                                                                                                                                                                                         document and/or                                         extent it calls for the
                                                                                                                                                                                         analyses of                                             production           of
                                                                                                                                                                                         disclosure of                                           unclassified,     non-
                                                                                                                                                                                         information                                             FOUO documents
                                                                                                                                                                                         contained in the
                                                                                                                                                                                         document)

                                                                                                                                                                                                                                                 Denied in all oth·e r
                                                                                                                                                                                                                                                 respects.

                                                                                                                                                                                                                                                 _{Tr. at 250: 14-18
26.   Second Set of Discovery                                                                                                                                                            2                                                    I Granted   in part and
      Requests. Request No. 3(e)                                                                                                                                                         (Records relating                                       Denied in part.
                                                                                                                                                                                         to the disclosure of
                                                                                                                                                                                         information                                             Granted only to the
                                                                                                                                                                                         contained     within                                    extent it calls for the
                                                                                                                                                                                         the document)                                           production           of
                                                                                                                                                                                                                                                 unclassified,      non-
                                                                                                                                                                                                                                                 FOUO documents




                                                                                                                                                                                                                                                 Denied in all other
                                                                                                                                                                                                                                                 respects.

                                                                                                                                                                                                                                                 (Tr. at 251 : 1- l l )

                                                                                                                                                                                                                                                                                      20




      ~_..:...._ __ - ........:::--~~=   4 t'M':kW>#&~-iNF-44UiiiWt- ;,...,..,,,.. ,- ' "f',¥>«:<-~~·7;;:z::?W:JZ,n;.&~~,-- -~-;~n,.rn. 14   .   j   X1!i&ffl:t5'."'--*=-~~---..,,-""j', ~ : :,. ----,----~· _,.,,,, ._._._.._, ...,   .. ·/tJZ:Jtf"tj<~-i+: ....   %   :   =-   ~;;-*rc>:"•~··Y'?'C<"~:l#J
                      Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 62 of 170




        Specific Request //                                                                           Magistrate Judge's
          O~~_t;9verv Set                                                                                    Ruline
    Second Set of Discovery                                                                           Granted in part and
    Requests, Request No. 3(f)                                                (Analyses of            Denied in part.
                                                                              information
                                                                              contained in the        Granted only to the
                                                                              document and/or         extent it calls for the
                                                                              analyses of             production           of
                                                                              disclosure of           unclassified,     non-
                                                                              infonnation             FOUO        documents
                                                                              contained .in the       published for public
                                                                              document)               consumption



                                                                                                      (Tr.    at    251 :12-
                                                                                                      253 :24




                                                                                                                          21




~          - ~ · re    ™/·-'¥4··-k---.,.:s,·:....~~   ~-                        w~   "'   *~:=::~1~~&"5:J:.~".'.;~;d.t!?'~-~;'~
                 Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 63 of 170




   Specific Request II                                                                                    Magistrate Judge's
     J)istovery Set                                                                                               Rulin
Second Set of Discovery                                                                                   Grant.ed in part and
Requests. Request No. 3(g)                                                                                Denied in part.

                                                                                                         Granted only to the
                                                                                                         extent it calls for the
                                                                                                         production           of ·
                                                                                                         unclassified,      non-
                                                                                                          FOUO         documents
                                                                                     (Records relating published for public
                                                                                     to the disclosure of
                                                                                     information
                                                                                     contained \vithin
                                                                                     the document)

                                                                                                          (Tr.    at   254:6-7,
                                                                                                          257:16-19, 259:3-17,
                                                                                                          259 ;18-260:0




                                                                                                                                           22




                         >r¾::ffl   ~          ·1!9a   i%i   r·e m,,:n ,-,~7 ~   ~       ~ - , m·-msw -,T s - ~    =:::.:.==-- _ _ _ _   '$ '''"''-'!7'$-i""!';C:C,,:-::r3""..=~
                                Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 64 of 170




                   Specific Request II                                                                          Magistrate Judge's
I _ ___ __ I         Discovery Set                                                                                     Rulhi
               Second Set of Discovery                                                                       Granted in part and
               Requests, Request No. 3(h)                                                                   I
                                                                                        (Records relating Denied in part.
                                                                                        to the disclosure of
                                                                                        infonnation          Granted only to the
                                                                                        contained     within extent it calls for the
                                                                                        the document)        production           of
                                                                                                                   ·   -~ ·     non-




                                                                                                                Denied in aH other
                                                                                                                respects.

                                                                                                                (Tr.   at    262:1-9,
                                                                                                                263:16-20_) - -- -




                                                                                                                                  23
                                      Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 65 of 170




          Sp~ific Request II                                                                                                                      Magbtrate Judge's
             Oisc'Overv Set                                                                                                                             Rolin
      Sec:ond Set of Discovery                                                                                                                    Granted in part and
      Requests,      Request                     No.                                                                      (Analyses of            Denied in part.
      3(h)(l)                                                                                                             information
                                                                                                                          contained in the        Granted only to the
                                                                                                                          document and/or         extent it calls for the
                                                                                                                          analyses of             production           of
                                                                                                                          disclosure of           documents developed
                                                                                                                          information             as a result of the
                                                                                                                          contained in the
                                                                                                                          document)




                                                                                                                                                Tr. at 263 :2-8}
31.   Second Set of Discovery                                                                                             2                     I
                                                                                                                                               Granted in part and
                                                                                                                          (Records relating Denied in part.
      Requests. Request No. 3(i)
                                                                                                                          to the disclosure of
                                                                                                                          information          Granted only to the
                                                                                                                          contained     within extent it calls for the
                                                                                                                          the document)        production           of
                                                                                                                                               unclassified,      non-
                                                                                                                                               FOUO         documents
                                                                                                                                               regarding the specific
                                                                                                                                               incident described in
                                                                                                                                               the          Document.
                                                                                                                                               Denied in all other
                                                                                                                                               respects.

                                                                                                                                                    {Tr. 264:9-11

                                                                                                                                                                         24




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                       Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 66 of 170




         Specific Request JI                                                                                                             Magistrate Judge's
            Dlscove.rv Set                                                                                                                     Rulin
32.   Second Set of Discovery                                                                                                            Granted in part and
      Requests, Request   No.                                                                                    (Analyses of            Denied in part.
      3(i)( 1)                                                                                                   information
                                                                                                                 contained in the        Granted only to the
                                                                                                                 document and/or         extent it calls for the
                                                                                                                 analyses of             production           of
                                                                                                                 disclosure of           unclassified,      non-
                                                                                                                 information             FOUO        documents
                                                                                                                 contained in the        regarding the specific
                                                                                                                 document)               incident described in
                                                                                                                                         the        Document.
                                                                                                                                         Denied in all other
                                                                                                                                         respects.

                                                                                                                                         Tr. at 264: 18-20)
33.   Second Set of Discovery                                                                                                            Granted in part and
      Requests, Reqt1est No. 3G)                                                                                 (Records relating   I   Denied in part.
                                                                                                                 to the disclosure of
                                                                                                                 information          Granted only to the
                                                                                                                 contained     within extent it calls for the
                                                                                                                 the document)        production           of
                                                                                                                                      uncla'isifie<l,    non-
                                                                                                                                      FOUO         documents
                                                                                                                                      regarding the specific
                                                                                                                                      incident described in
                                                                                                                                      the          Document.
                                                                                                                                      Denied in all other
                                                                                                                                      respects.

                                                                                                                                         {Tr. at 265:8-10

                                                                                                                                                               25




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                                                                                                                                                            f.~Z~i-<l'fflll!WiW
                      Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 67 of 170




         Specific Request II                                                                                                        Magistrate Judge's
           Disco_.:y~rv Set                                                                                                                Rulin·
      Second Set of Discovery                                                                                                      Granted in part and
      Requests, Request 3G)(l)                                                                                                     Denied in part.

                                                                                                          contained in the         Granted only to the
                                                                                                          document and/or          extent it calls for the
                                                                                                          analyses of              production           of
                                                                                                          disclosure of            unclassified,      non-
                                                                                                                                   FO UO       documents
                                                                                                          contained in the         regarding the specific
                                                                                                          document)                incident described in
                                                                                                                                   the        Document.
                                                                                                                                   Denied in all other
                                                                                                                                   respects.

                                                                                                                                   {Tr. at 265: 15-16}
35.   Second Set of Discovery                                                                                                    Granted in part and
      Requests, Request No. 3(k)                                                                          ( Re.cords relating I Denied in part.
                                                                                                          to the disclosure of
                                                                                                                               ' Granted only to the
                                                                                                          contained within extent it calls for the
                                                                                                                              •I


                                                                                                          the document)        · production          of
                                                                                                                                 unclassified,    non-
                                                                                                                                 FOUO       documents
                                                                                                                                 regarding the specific
                                                                                                                                 incident described in
                                                                                                                                 the        Document.
                                                                                                                                 Denied in all other
                                                                                                                                 respects.

                                                                                                                                   (Tr. at 266: 1-3)

                                                                                                                                                         26




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                        Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 68 of 170




          Specific Request II                                                                       Magistrate Judge's
            Discovery $~t . . _    I,                                                                     Rulin
      Second Set of Discovery                                                                      Granted in part and
      Requests, Request   No.                                                                      Denied in part.
      3(k)(l)
                                                                                contained in the   Granted only to the
                                                                                document and/or    ex:tent it calls for the
                                                                                analyses of        production            of
                                                                                disclosure of      unclassified,       non-
                                                                                information        FOUO         documents
                                                                                contained in the   regarding the specific
                                                                                document)          incident described in
                                                                                                   the          Document.
                                                                                                   Denied in all other
                                                                                                   respects.

                                                                                                   (Tr.at 266: I 2-13
37.   Second Set of Discovery                                                                      Granted in part and
      Requests, Request No. 3(1)                                                                   Denied in part.

                                                                                                   Granted only to the
                                                                                                   extent it calls for the
                                                                                                   production           of
                                                                                                   unclassified,      non-
                                                                                                   FOUO        documents
                                                                                                   regarding the specific
                                                                                                   incident described in
                                                                                                   the         Document.
                                                                                                   Denied in all other
                                                                                                   respects.

                                                                                                    Tr. at 266;21-23"

                                                                                                                        27




                                        ffl"';.'!tl.   >L:¥4,   *
                      Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 69 of 170




         Specific R~aest //                                                                                                                                                         Magistrate Judge's
           Discovef:t:~et                                                                                                                                                                  Rullo
      Second Set of Discovery                                                                                                               10                                      Denied.


                                                                                                                                            IE.
      Requests, Request No. 3(m)
                                                                                                                                                                                    (Tr. at 267:5-6)




39.   Second Set of Discovery                                                                                                                                                       Denied.
      Requests, Request   No.
      3(m)(l)                                                                                                                                                                       (Tr. at 267:13-14)
                                                                                                                                            contained in the
                                                                                                                                            document and/or
                                                                                                                                            analyses of
                                                                                                                                            disclosure of

                                                                                                                                            contained in the
                                                                                                                                            document)




                                                                                                                                                                                                                                28




                                   ~ , - ;.;,   44#-@!ffl!)"!l'})@WF?t't<JMM\ik   --¥ g:.:   ,:,•••·~~·71   'ilh! a£Ml, -·-f±-8,& ..n;.p:        GL4&'.i;:;e$..,;:..vJi#fJtAi:&-+-' -, .;~·~--;M;t;:'"t
                                                                                                                                                                               00
                                                                                                                                                                               -'                         -Mil¾   ~ , . ; ; . . . . ~ •:"'''.tfi.>:fr,_ __
                                                                                                                                                                                                                                            0
                    Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 70 of 170




                                                                                                                              Magistrate Judge's
                                                                                                                                    Rolin
   Second Set of Discovery                                                                                                   Granted in part and
   Requests, Request No. 3(n)                                                                                              I
                                                                                                        (Records relating Denied in part.
                                                                                                        to the disclosure of
                                                                                                        information          Granted only to the
                                                                                                        contained within extent it concerns
                                                                                                        the document)        pre.leak disclosures
                                                                                                                             that are unclassified,
                                                                                                                             non-FOUO,         that
                                                                                                                             concern the specific
                                                                                                                             incident described in
                                                                                                                             the        Document.
                                                                                                                             Denied in all other
                                                                                                                             respects.

                                                                                                                               Tr. at 268:12-19}




                                                                                                                                                           29




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                 Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 71 of 170




    Specific Request//                                                                                                                    Magistrate Judge's
      Dis~overy Set                                                                                                                            Rulin
Second Set of Discovery                                                                                                                  Granted in part and
Requests, Request No. 3(o)                                                                                                               Denied in part.

                                                                                                                                         Granted only to the
                                                                                                                                         extent it calls for the
                                                                                                                                                              of




                                                                                                                                         specifically contained
                                                                                                                                         in the Document.

                                                                                                                                         (Ir. at 269: l 7-~22




                                                                                                                                                                30




                         zaa   2-w.10-.c   u-~~- m       t1m,mz,s.®~J4WZ:ftt¾JSt:u:t""-,:J!U2!2'.!!EiM -WM ·m   &--£l.___ <-WA.l!.&:Z'-'-_-11   IL~~-~~~
                                                      Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 72 of 170




                                                                                                                                                                                         Magistrate Judge's
                                                                                                                                                                                               Rulin
                                                                                                                                                                                        Denied as moot.
                                                                                                                                                                 (Records
                                                                                                                                                                 supporting      the   I (Tr. at27l:19-20)
                                                                                                                                                                 Government's
                                                                                                                                                                 possession that the
                                                                                                                                                                 Defendant
                                                                                                                                                                                 the
                                                                                                                                                                 document at issue)




                                                                                                                                                                                                             31




~--~c,;;;;;:;;;;·:.-;;11$..   - -   ;a, - -   ,_ , ,, _. . , . , _ , . .__ ;   wtlit.44#.   ,.:QB' .,~flli!llll.~'l'M-CffT: id .Jthii&t..;ZJJS&J.WM   ~~   ~~~                           ---~~~s,;:,-:.::.~-~-,--,.,_._.   °"
                                Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 73 of 170



                        ~                                   Third Discovery Request                      .                                .
  Request            Specific Request//                          Description                                 Category            Magistrate Judge's
  Number               Discon!:! Set                                                                                                   Ruling
-
   -B .         Third Set of Discover)      Generally. for eal:h response that indicates " Your request N/A                     Withdra\,11 by the
                Requests, Request No. I     calls for the production of material to which the defense                           defense.
                                            is not entitled:' please respond or provide documents                           I



                                            sufficient to identify the portion or portions of the request                     (Tr. at 275:7-19)
                                            that the government specifically objects to or believes the
                                            Defendant is not entitled. Additionally, please clarify
                                            what is meant by the phrase "not entitled" (i .e .. precluded
                                            for security reasons; a specific federal rule of criminal
                                            procedure; privilege, other statute: or an aspect of CIPA,
~
                                            etc .).
   44.          Thi rd Set   of Discuvcry   The total number of authorized users of the following on 8                        (Appears to       haw
                Requests,    Request  No.   May 5, 2017:                                                  (Records regarding been withdra"vn)
                2(b)(iii)                                                                                 the security of the
                                                     I. TESTFLIGHT;                                       document)

                                                    2. Library of Nationul IFllelligence:

                                                    3. NeX::r G13N~R:,.:\+IGN +RIQ!;N+: and

            I                                       4. Discovery.




                                                                                                                                                 32
                                  Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 74 of 170




              -- SpecificRequest-//--c                                                                                                       Magistrate Judge's
                      Discoverv Set                                                                                                            - --m.1ur
             Third Set of Discovery                                                                                                    Granted in part and
             Requests,     Request     No.                                                                         (Records regarding Denied in part.
             2(b)(iv)                                                                                              the security of the
                                                                                                                   document)           Granted only to the
                                                                                                                                       extent it calls for the
                                                                                                                                                      of the
                                                                                                                                            _ _ _ _ _ _ _on
                                                                                                                                            the date in question.
                                                                                                                                            Denied in all other
                                                                                                                                            respects.

                                                                                                                                            Tr. at277:1 l-16




9
 The Government' s response to "A. l .b" as referenced in this request concerns the total number of people who had access t o - on May 5, 2017, the ·day the document
was purportedly printed . See Tr. of Proceedings, Nov. 30-Dec. l, 2017, at 275:21-276:8.
                                                                                                                                                                   33
                                      Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 75 of 170




              --     -spedfi~ J.tFquest-/1- -                                                                                                                  Magistrate Judge's
                        :Discovery Set .                                                                                                                                - 1w11n~ -
               Third      Set    of     Discovery                                                                                                    Granted in part and
               Requests, Re.quest No. 2(c)                                                                                                                 I
                                                                                                                                (Records relating to Denied in part.
                                                                                                                                the disclosure of
                                                                                                                                                     Granted only to the
                                                                                                                                contained    within extent it calls for the
                                                                                                                                the document)        production of (a)
                                                                                                                                                     documents involving




                                                                                                                                                               (Tr.      at   279:7-11 ,
                                                                                                                                                               281 :3-6)




w The Government's response at "A. l .c" as listed in this request addresses post-leak requests to utilize the information in the Document at issue. Se e Tr. of Proceedings, Nov. 30-
Dec. 1, 2017, at 277:17-278:5.
                                                                                                                                                                                     34




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                   Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 76 of 170



47.   Third Set of Discovery                                                                                                                      and
      Requests, Request 2( d)

                                                                                                           Granted to the extent
                                                                                                           it calls for the
                                                                                                           production of (a) •




                                                                                                          (Tr. at 284:22-285:5)




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                                        Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 77 of 170




                                                                                                                                                Magistrate·Judge's
                                                                                                                                                         "Ruliffi


                                                                                                                                                (Tr. at 286: 13-14)


      49.        Third   Set of Discovery                                                                                                       (Appears                  to          have
                 Requests, Request 2(f)                                                                                                         been withdra,Aln)
                                                                                                                       supporting      the
                                                                                                                       Government' s
                                                                                                                       possession that the
                                                                                                                       Defendant
                                                                                                                       transmitted        the

       50.       Third Set of Discovery                                                                                                      Granted       as     to
                 Requests, Request 2(g)                                                                                (Records              documents within the
                                                                                                                       supporting      the I possession, custody,
                                                                                                                       Government's          or control of the
                                                                                                                       possession that the prosecution team.
                                                                                                                       Defendant
                                                                                                                       transmitted     the I (Tr. at 288:5-290 :10)
                                                                                                                       document at issue)




11
     The Government 's response at "A.3.b" as noted in this request concerns the Government's
-        It is contained in Exhibit E to Doc. 162 (Joint Status Report).
                                                                                                                                                                                              36




                                                       -------------------------------------------""""'"""""-.,........,...,--.·~·-·--~--•-~",;.,.·~   ____ _,,..,~   -    .,,,   -   ~   -        it&t;~;;"'~~
                           Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 78 of 170




Request
Number
        1-·    Specific RequMt II .:.
                 Discovery Set
                                                                                                                    Magistrate Judge's
                                                                                                                    -- - -Rulm
  51.   I Third Set of Discovery The Defendant requests unredacted copies of the 17                                 Granted in part and
          Requests, Request No. 3(a) - following classified documents produced in discovery: (Records               Denied in part.
          (i)                                                                                supporting       the
                                               a. DOJ-CLASS-00012 through DOI-CLASS- Government's                   As to "a" through
                                                   00028 ;                                   possession that the    "e,"           defense
                                                                                             Defendant              withdraws based on
                                                                                             transmitted      the   representation     that
                                               b. DOJ-CLASS-00029 through DOJ-CLASS-
                                                                                             docume.nt at issue)    Government        will
                                                   00038 ;
                                                                                                                    produce records.

                                                c. DOJ-CLASS-00039;                                                 As to "f' and " g,"
                                                                                                                    granted only to the
                                                d. DOJ-CLASS-00042;                                                 extent it involves
                                                                                                                    unclassified
                                                                                                                    infonnation        that
                                                e. DOJ-CLASS-00230 through DOJ-CLASS-
                                                                                                                    specifically relates to
                                                   00240;                                                           the    Document at
                                                                                                                    issue. Denied in all
                                                f.   DOJ-CLASS-00250;                                               other respects.

                                                g. DOJ-CLASS-00251 through DOJ-CLASS-                               (Tr.   at        296:5-8,
                                                   00407;                                                           297:17-20)

                                                                                                                    As to "h," denied on
                                                h. DOJ-CLASS-00543 through . DOJ-CLASS-                             the basis of Court-
                                                     00735 ; and                                                    approved       CIP A
                                                                                                                    redactions.
                                                1.   DOJ-CLASS-00792 through DOJ-CLASS-
                                                     00798.                                                         (Tr. at 298 :14-299:2)

                                                                                                                    As to "i," denied as
                                                                                                                    irrelevant.       37

                                                                                                                     Tr. at 300: 17-20)


                                                                                     ,_                               , ~liJtt"''"              ...... ~
                     Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 79 of 170




           Specifirte-quest-/1-                                                                       Magistrate Judge's
             Discoverv Set                                                                     - ,-         Rullo-- -
52.   Third Set of Discovery                                                                          Denied as moot.
      Requests, Request No.4                                                (Records
                                                                            supporting      the   I (Tr. at 301 :8-302:4)
                                                                            Government's
                                                                            possession that the
                                                                            Defendant
                                                                            transmitted     the
                                                                            document at issue)



53.   Third Set of Discovery                                                                      Denied.
      Requests, Request No. 5                                               (Records
                                                                            supporting      the I (Tr. at 303:5-9)
                                                                            Government' s
                                                                            possession that the
                                                                            Defendant
                                                                            transmitted     the
                                                                            document at issue)




                                                                                                                                                   38




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                    Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 80 of 170




                                                                                                                      Magistrate Judge's
                                                                                                                             Rolin -
                                The Defendant requests the attachments to the following                           I
                                                                                          General. . discovery Granted in part and
                                                                                          involving        the Denied in part.
                                emails produced in classified discov,ery: DOJ-CLASS-
                                764; DOJ-CLASS-00801 ; and DOJ-CLASS-00806                defendant
                                                                                                               Granted only to the
                                                                                                               extent it calls for the
                                                                                                               production            of
                                                                                                               documents           that
                                                                                                               include information
                                                                                                               contained     in     the
                                                                                                               Document Denied in
                                                                                                               all other respects.

                                                                                                                      Tr. at 304:5-9
55.   Third Set of Discovery                                                              NIA                         Withdrawn by      the
      Requests, Request No. 7                                                                                         defense.

                                                                                                                      (Tr. at 304:12)




                                                                                                                                         39




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~ ~,,~J~ ~·",,-.:m-..~,,., = , ~ ~ =- ·


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              Specific Request//                                                                                                 Magistrate- Judge's
                D.is.coverv Set                                                                                                         Rulin
          Fourth Set of Discovery                                                                                                Granted in part and


                                                                                                                  •
          Requests, Request No. 1                                                                                                Denied in part.




                                                                                                                  •
                                                                                                                                 Granted only as to
                                                                                                                                 providing docwnents




                                                                                                                                              Denied
                                                                                                                                 all other respects.

                                                                                                                                   Tr. at 305:20-22}




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                                                    -----·--·>$-.-----   ---------------~'Z?ft     •t   , _.,...,__,, -?A!!f)ffl""Pffe,W ,·4::.   ~~"'*~''?:~~-------..
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                                                                                                                 Magistrate Judge's
                                                                                                                        Ru1iill
      Fourth Set of Discovery                                                                                                        and
      Requests, Request No. 2

                                                                                                                Granted only as to
                                                                                                                providing documents




                                                                                                                (Tr. at 306: l
58.   Fourth Set of Discovery    For DOJ~CLASS-000251 throµgh DOJ-CLASS-000407, 6                               Granted in part and
      Requests, Request No. 3    please provide copies of the material contained in each link (Documents   the I Denied in part.
                                 for each of the 4,240 rows of information.                 Defendant either
                                                                                            saw or became I Granted only to the
                                                                                            aware of)        ~xtent the defendant




                                                                                                                (T!_._~t 306:9~13)


                                                                                                                                      41
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                                                                                                        Magi.str:ate Judge's
                                                                                                         -- Rufi~
                                                                                                        Granted in part and
                                                                              (Records                  Denied in part.
                                                                              supporting      the
                                                                              Government' s             Granted only as to (a)
                                                                              possession that the       the production of
                                                                              Defendant                 identities of people
                                                                              transmitted     the       who accessed the
                                                                              document at issue)        Document; and (b)
                                                                                                        the production of
                                                                                                        instances where the
                                                                                                        Document           was
                                                                                                        emailed, from t he
                                                                                                        date of publication on




                                                                                                        (Tr.    at    306: 17~
                                                                                                        317:17)
60.   Fourth Set of Discovery                                                 7                         Denied.
      Requests, Request No. 5                                                 (Records
                                                                              supporting            I
                                                                                              the (Tr. at 319: 10-12)
                                                                              Government' s
                                                                              possession that the
                                                                              Defendant
                                                                              transmitted     the
                                                                              document at issuel




                                                                                                                            42
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       - Specific-Requ.esHI- -                                                                                                                               Magutrate Judge's
             Discovery Set                                                                                                                          I   ----- ----···
                                                                                                                                                                        R:ulimr
                                                                                                                                                                             ·--   ~   ··   -
      Fourth Set of Discovery                                                                                                                            Granted in part and
      Requests, Request No. 6                                                                                                                            Denied in part,

                                                                                                                                                         Gr anted onl Y. to the
                                                                                                                                                         extent it -




                                                                                                                                                         (Tr.           at         319:22-24,
                                                                                                                                                          320:1 -2)
62.   Fourth Set of Discovery                                                                                              11                             Denied as moot.
      Requests, Request No. 7                                                                                              (Records relating
                                                                                                                           to the document,         I (Tr. at 320:3-9)
                                                                                                                           its author, and its
                                                                                                                           classified nature}
63.   Fourth Set of Discovery                                                                                              2                        IGranted       in part and
      Requests, Request No. 8                                                                                              (Records relating              Denied in part.
                                                                                                                           to the disclosure of
                                                                                                                           information      Granted only to the
                                                                                                                           contained within extent it involve.s
                                                                                                                           the document)    unclassified.    non-
                                                                                                                                            FOUO        documents
                                                                                                                                            regarding         the
                                                                                                                                            Document.

                                                                                                               Clr. at 320:20-23}
64.   Fourth Set of Discovery    Ident~ify_ whether th~re a,re any_~   policies, includin~ General discovery I Denied ns moot.
      Requests, Request No. 9    not hm1ted to pubhcation &ruidehnes, related to the -     involving     the
                                 111111 and provide copies of those policies.              Defendant's         (Tr. at 320:24-321: 1)               I
                                                                                           emolovrnent
                                                                                                                                                                                                4~




                                                ::. ~- _ -...- -,®'fl·~'ft·c-:err···   ,-,wmrnnem·-,vtt~~ ~ ~ - - : : . ~ , ~ ~ : , , . , ; < , - ~ ~ ' ~ ' ~ ! f f i . ~ ~ ~ ~ ~ ~ . . , - ~ ;
                                                Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 85 of 170




                               -. -. Spedfir ltequest-H                                                                                            Magistrate Judg~'s
                                    Discovet"V Set                                                                                                      Rulhr...- -
                             Fourth Set of Discovery                                                                  General di sc-0very I Denied as moot.
                             Requests, Request No. l 0                                                                involving       the
                                                                                                                      Defendant's         I (Tr. at 321 :4-8)

           66.               Fourth Set of Discovery                                                                                               Granted in part and
                             Requests, Request No. 11                                                                 (Records regarding       I   Denied in part.
                                                                                                                      the security of the
                                                                                                                      document)                I Granted     only to the
                                                                                                                                                   extent it calls for the
                                                                                                                                                   production           of
                                                                                                                                                   docwnents reflecting
                                                                                                                                                   the total nwnber of




                                                                                                                                                   Tr. at 321 :22-322: l)
           67.               Fourth Set of Discovery      To the extent not already provided, please provide a copy   General                      Denied as moot.
                             Requests, Request No. 12     of the audio underlying DQJ.CLASS-000449 through            investigative
                                                          DOJ-CLASS-000538.                                           discover                     (Tr. at 322:7-9)
           68.               Fourth Set of Discovery                                                                  General discovery            Denied.
                             Requests, Request No. 13                                                                 involving     the
                                                                                                                      defendant                    (Tr. at 322:20-21)




                                                                                                                                                                        44




*™"·-""'     _:::;_;;.:::   :::: --   ·~~-~                                                    >l":"            f!.~ - ~ '·"'
                                                                                                                          ·;; _ _ _ _ _ _ _ _ __
                                                                                                                                                          ~             ----~ OV.1 ,
                                 Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 86 of 170




                -Specificlleque'!tll.                                                                                       Magistrate Judge'i
                   Discovery~Set                                                                                                   Rulin
             Fowth Set of Discovery                                                                                         Denied.
             Requests, Request No. 14                                                          (Records
                                                                                               supporting      the I (Tr. at 324:4-8)
                                                                                               Government's
                                                                                               possession that the
                                                                                               Defendant
                                                                                                               the

   70.       Fourth Set of Discovery                                                                                Denied.
             Requests, Request No. 15                                                          (Records relating
                                                                                                                        I
                                                                                               to the disclosure of (Tr. at 324:15-16)
                                                                                               information
                                                                                               contained within
                                                                                               the document)

   71.       Fourth Set of Discovery                                                                                Withdrawn by the
             Requests, Request No. 16                                                          (Records             defense based on
                                                                                               supporting               I
                                                                                                               the representation      that
                                                                                               Government' s        Government is not in
                                                                                               possession that the possession of the
                                                                                               Defendant            subject envelope.
                                                                                               transmitted     the
                                                                                               document at issue) I (Tr. at 324: 17-21




13
   The document referenced in this request (DOJ-CLASS~00808-8IO) is.          in the aftermath of the alleged leak at issue. See Tr. of Proceedings,
Nov. 30-Dec. 1, 2017, at 322:22-323:5.
                                                                                                                                                   45




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          Specific Request fl                                                                         _!\lagistrate Judge's
             Discovery Set                                                                            =     Jlulin --
72.   Fourth Set of Discovecy                                                                      Denied.
      Requests, Request No. 17                                                 (Documents
                                                                               reflecting        I (Tr. at 324:22-23)
                                                                               statements made
                                                                               by high-ranking
                                                                               governmental
                                                                               officials regarding
                                                                              ·information
                                                                                           in the

73.   Fourth Set of Discovery                                                                     Denied.
      Requests, Request No. 18                                                (Documents
                                                                              reflecting          I
                                                                                                  (Tr, at 324:22~23)
                                                                              statements made
                                                                                     high-ranking
                                                                              governmental
                                                                              officials regarding
                                                                              information
                                                                                          in the

74.   Fourth Set of Discovery                                                                         Deni~d.
      Requests, Request No. 19                                                (Documents
                                                                              reflecting          (Tr. at 324:22-23)
                                                                              statements made
                                                                              by high-ranking
                                                                              governmental
                                                                              officials regarding
                                                                              information
                                                                                          in the


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-.., ~,J>:Y< :I T".,~-~,~--~,;:;;.:,::,;   =          ..=.... ~ : ~ s : ~ ~ 1 1 * ~ , . . , . . . . , ~ _   ~..,."~"""'"'-'""-"""""'"_ _ __


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                                  Specdic Requesr/l                                                                                                                     Magistrate Ji1d.ge's
                                      Discovery Set                                                                                                                        7tiilirtf!~
                           Fourth Set of Discovery                                                                                                                      Granted in part and
                           Requests, Request No . 20                                                                                          (Records regarding        Denied in part.
                                                                                                                                              the security of the
                                                                                                                                              document)                 Granted to   the extent
                                                                                                                                                                        it calls      for   the
                                                                                                                                                                        production   of records
                                                                                                                                                                        Limited      to     the
                                                                                                                                                                        Document.

                                                                                                                                                                        (Tr. at}1J: 1   o~ 12
             76.           Fourth Set of Discovery                                                                                                                 Granted in pilrt and
                           Requests, Request No. 21                                                                                           (Records regarding I Denied in part.
                                                                                                                                              the security of the
                                                                                                                                              document)             I Granted to the extent
                                                                                                                                                                        it calls for the
                                                                                                                                                                        production of records
                                                                                                                                                                        limited    to     the
                                                                                                                                                                        Document.

                                                                                                                                                                        (Tr. at 328:1-2)


             77.           Fourth Set of Discovery                                                                                                                      Granted,                but
                           Requests, Request No. 22                                                                                           (Documents         Government       has



                                                                                                                                              -ns                   I
                                                                                                                                              supporting   the represented         no
                                                                                                                                              Government's       responsive
                                                                                                                                                            of I documents exist.

                                                                                                                                                                        er~ at)30:J~333: 1)
                                                                                                                                                                                                 47




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~---~''u                           -~ ---    --   ~,-,.,,_,..,,,..,.,,.   - -- -,-- _.,.._. ·~-~----~-
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                                                                                 •••
                                                                                                                     Magistrate Judge9s
                                                                                                                 -        Ruli~ ___,
                                                                                                                 Granted.         but
                                                                                                                 Government       has
                                                                                                         •       represented       no
                                                                                                                 responsive
                                                                                                             •   documents exist.

                                                                                                                 (Tr. at 3393-333:J'
           79.   Fourth Set of Discovery                                                                         Granted,         but
                 Requests, Request No. 24                                                                        Government       has
                                                                                                                 represented       no
                                                                                                                 responsive
                                                                                                                 documents exist.

                                                                                                                 CD-'~!!t 330:3-333: 1)
           80.   Fourth Set of Discovery                                                                         Granted,             but
                 Requests , Request No. 25                                                                       Government          has
                                                                                                                 represented           no
                                                                                                                 responsive
                                                                                                                 documents exist.

                                                                                                                 {Tr.~ t 330:3-333: 1)
           81.   Fourth Set of Discovery                                                                         Granted,            but
                 Requests, Request No. 26                                                                        Government          has
                                                                                                                 represented              no




                                                                                                                                          48
=     ~-.~   -- ~    ·- ~ , . , _ . . . _ _   _.,.., -·   ~~   'SJ.;,     ~   ~   , . , . ~ ,-



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                                                                        •••
                                                                                                                       Magistrate Judge's
                                                                                                                              Rulin:
                                                                                                                                            but
                                                                                                                                            has
                                                                                                                      represented           no
                                                                                                                      responsive
                                                                                                                      documents exist.

                                                                                                                      (Tr. act 330:3-333:r
83.          Fourth Set of Discovery                                                                                  Granted,            but
             Requests, Request No. 28                                                                                                    has
                                                                                                                                           no



                                                                                                                       Tr. at3}Q:3-333 :l)
84.          Fourth Set of Discovery                                                                                  Granted in part and
             Requests, Request No . 29                                                           (Records relating Denied in part.
                                                                                                 to the disclosure of
                                                                                                 infonnation          Granted only to the
                                                                                                 contained within extent it calls for the
                                                                                                 the document)        production            of
                                                                                                                      documents reflecting
                                                                                                                      the    disclosure of
                                                                                                                      information
                                                                                                                      captained     in     the
                                                                                                                      Document at issue in
                                                                                                                      an unclassified, non~
                                                                                                                      FOUO            setting.
                                                                                                                      Denied in all other
                                                                                                                      respects.

                                                                                                                       (Tr. at}33 :1Q-13)
                                                                                                                                             49
                         ,..,,"----~-· i?°"''"""·&:rh a \l?f"';';So~:,   ~   '~ ~32}WH!iH;itii1'i:wihm &-H '.   =.:.:.:.:........~==---::..-::_ '>'~ · - = ~ -   - ~-·M - - - - - -



                                                           Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 91 of 170




    Req,ue:st           Specific Request /7                                                                                                                                               Magistrate Judge·'s
    Number                Discoverv Set                                                                                                                                                          Rulin -
      85.           Fourth Set of Discovery                                   Please produce documents relating to the numbet of NSA                             9                    I   Denied.
                    Requests, Request No. 30                                  employees or NSA contractors who inserted a flash drive                            (Documents
                                                                              or other unauthorized media into a government computer                             regarding         the I (Tr. at 333:24-25)
                                                                              from January 1, 2014 to June 5, 2017.                                              Government's
                                                                                                                                                 .   --   .
                                                                                                                                                                 404(b.l Notice)
       86.          Fourth Set of Discovery                                    Identify whether there are NSA policies for NSA                                   9                     I Denied as moot.
                    Requests, Request No. 31                                   employees and/or NSA contractors governing or                                     (Documents
                                                                               prohibiting th.e use of a TOR bro,..vser and/or TOR email or                      regarding            I
                                                                                                                                                                                   the (Tr. at 334: l ·3)
                                                                               other forms of secure web browsing or wcbmail on                                  Government's
                                                                                ersonal devices, and if so provide copies of such policies.                      404(b) Notice)
       87.          Fourth Set of Discovery                                    Please produce documents relating to the number of NSA                            9                    I  Denied.
                    Requests, Request No. 32                                   employees and NSA contractors who searched the Intcn1et                           (Documents
                                                                               for information about TOR browser and/or TOR em~il,                               regarding         the I (Tr. at 334:10-14)
                                                                               other forms of secure web browsing or weomail, or                                 Government's
I               I                                                            I Slippery.email from Januarx 1, 2014 t.O June 5, 7017,.                            404(b)
                                                                                                                                                                      , , Notice·)
       88.          Fourth Set of Discovery                                    Please produce documents relating to the numbet of NSA                            9                       Denied.
                    Requests, Request No. 33                                   employees and/or NSA contractors who searched the                                 (Documents
                                                                               Internet for media outlets and the methods for searthing                          regarding            I
                                                                                                                                                                                   the (Tr. at 334:10-14)
                                                                               how to submit information to a media outlet from January                          Government's
                                                                               1, 2014 to June 5, 2017.                                                          404(b) Notice·
       89.          Fourth Set of Discovery                                    Identify the number of individuals who currently hold a                           General discovery Deniied.
                    Requests, Request No. 34                                   TOP SECRET clearance, SECRET clearance, and                                       regarding element.
                                                                               CONFIDENTIAL clearance.                                                           of c'closel~Jd"          Tr. at 334:24-25}
       90.          Fourth Set of Discovery                                    Please produce documents relating to the number of NSA                            9                       Denied.
                    Requests, Request No. 35                                   employees and NSA contractors who conducted Internet                              (Documents
                                                                               searches related to the "Anonymous" hacking group from                            regarding            I
                                                                                                                                                                                   the (Tr. at 335:4-5)
                                                                               January 1, 2014 to June 5, 2017.                                                  Government's
                                                                                                                                                                 404(b) Notic~).



                                                                                                                                                                                                              50
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                                                        I
         . Specific-Requesrir -                                                                                         Magistrate Judge's
            .Discovery Set                                                                                                   Rolin
      Fourth Set of Discovery                                                                                          Denied.
      Requests, Request No. 36                                                                   (Docwnents
                                                                                                 regarding      the   I (Tr. at 335:10)
                                                                                                 Government• s
                                                                                                 404(b) Notice)




92.   Fourth Set of Discovery                                                                                       Denied.
      Requests, Request No. 3 7                                                                  (Documents
                                                                                                 regarding    the I (Tr. at 335: 13)
                                                                                                 Government's
                                                                                             . ..404(b)Notice
93.   Fourth Set of Discovery      To the extent not already produced, please produce a copy 9                      Withdrawn                by
      Requests, Request No. 38     of the NSA Insider Threat Training the Defendant (Documents                      defense.
                                                                                                                  I
                                   allegedly "mocked" in February 2017 (as referenced in the regarding        the
                                   Government's November 6, 2017 amended 404(b) letter).         Government's       (Tr. at 336:1-4)
                                                                                                 j04fhl_Notfoe)
94.   Fourth Set of Discovery      To the extent not already produced, please produce a copy 9                         Withdrawn             by
      Requests, Request No. 39     of the Facebook conversation dated February 14, 2017 (as   (Documents               defense.
                                                                                                                      I
                                   reference in the Government's November 6, 2017 amended     regarding           the I
                                   404(b) letter).                                            Government's              (Tr. at 336:6)
                                                                                          . . 4 _()4(b) ]'lotice·       --
95.   Fourth Set of Discovery      From January 1, 2014 through June 5, 2017, identify how 9                            Denied.
      Requests, Request No. 40 ·   many NSA employees or NSA contractors failed their (Documents
                                   initial polygraph test.                                    regarding           the I (Tr. at 336:13-14)
                                                                                              Government's
                                                                                              404(!,) Notice)



                                                                                                                                             51




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          Specific 'Request II                                                                                                 Magistrate Judge's
             Discovery Set                                                                                                          itulinsi
      Fourth Set of Discovery                                                                                             Granted irt part and
      Requests, Request No. 41                                                                   (Records relating    I   Denied in part.
                                                                                                 to the disclosure of
                                                                                                 information            Granted only to the
                                                                                                 contained within extent it calls for the
                                                                                                 the document)        · production           of
                                                                                                                        documents indicating
                                                                                                                        the          President
                                                                                                 (Analysis         of I disclosed infortrtation
                                                                                                 information            contained     in    the
                                                                                                 contained in the Document prior to it
                                                                                                 document and/or being leaked. Denied
                                                                                                 analysis          of in all other respects.
                                                                                                 disclosure        of
                                                                                                 information          I (Tr. at 336:22-337:1)
                                                                                                 contained in the
                                                                                                 document)

97.   Fourth Set of Discovery     Any and all documents regarding the incident referenced in
                                                                                           9                   Withdrawn ·        by
      Requests, Request No . 42   the Government' s November 6, 2017 amended 404(b)        (Documents          defense,
                                  letter relating to the Defendant' s alleged " mishandling of
                                                                                           regarding     the
                                  classified information" in or about February 2017.       Government's        (Tr. at 337:3-4)
                                                                                           40 ) Notic-e)
98.   Fourth Set of Discovery     From January l, 2014 through June 5, 2017, the number of 9                   Deni,ed.
      Requests, Request No. 43    NSA employees or NSA contractors who allegedly (Documents
                                  mishandled classified information.                       regarding     the I (Tr. at 337:12·15)
                                                                                           Government's
                                                                                           404(b) Notice



                                                                                                                                                         52




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          Specific Request n                                                                                                                                         Magistrate Judge's
              Discoverv Set                                                                                                                                                  . Rutin
       Fourth Set of Discovery                                                                                                                                Granted in part and
       Requests, Request No. 44                                                                                                                         the I denied in part.
                                                                                                                                                     either
                                                                                                                                                   became I Granted to the extent
                                                                                                                                                              it calls for the
                                                                                                                                                              production       of
                                                                                                                                                              documents or emails
                                                                                                                                                              which concern




                                                                                                                                                                        r. at 339:8-112
JOO.   Fourth Set of Discovery    Provide all documentation underlying each FBI 302                                            General
       Requests, Request No. 45   produced to the Defendant, including but not limited to any                                  investigative
                       ._         a ent notes and attachrrtents.                                                               discove                              Tr. at 339:25-340:3
101.   Fourth Set of Discovery    Please provide documents identified as DOJ-CLASS-                                            General                              Withdrawn          by
       Requests, Request No. 46   00447 through DOJ-CLASS-00448.                                                               investigative
                                                                                                                               discovery




                                                                                                                                                                                                        53




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          ""S~ift~ ~~ist·Il                                                                                                                                          ~-. •. :M~~strateJudge's
             :nik'o!.~h'.Set                                                                                                                                          -· -~·r Riiij.n;, - -~ ·
       Fifth Set of Discovery                                                                                                            4
       Requests, Request No. 1                                                                                                           (Records
                                                                                                                                         relating to the
                                                                                                                                         Government' s
                                                                                                                                         3 NDI Points
103.   Fifth Set of Di~covery                                                                                                            4
       Requests, Request No. 2                   ---                  ---                ---                -- -                         (Records
                                                - -----~---          ----                ---      --      - ---                          relating to the
                                                                                                                                         Government's
                                                                                                                                         3 NDI Points
104.   Fifth Set of Discovery                                                                                                            4
       Requests, Request No, 3                                                                                                           (Records
                                                                                                                                         relating to the
                                                                                                                                         Government's
                                                                                                                                         3 NDI Points)
105,   Fifth Set of Discovery                                                                                                            4
       Requests, Request No. 4                                                                                                           (Records
                                                                                                                                         relating to the
                                                                                                                                         Government's
                                                                                                                                         3 NDI Points)




                                                                                                                                                                                                        54




                   _______..,....,_,,_,_...,,____,..,_.,,,..,,..____,..,_..,,,.:r,,.,.____,,.,rn•s:zi.ni:;;m;.;,'ffl'\m'1~~·=•re/·==-m       ':iliiti4'4fli!!'i~e::estP~~,:,!':."'ffl?m   ~~~~=~--::::'""'W   ~
Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 96 of 170




                    EXHIBIT B
     Case 1:17-cr-00034-JRH-BKE Document 214-1 Filed 01/23/18 Page 97 of 170




                           UNITED ST ATES DISTRICT COURT
                           SOUTHERN 1DJISTIUC1' OF GiEORGlA
                                 AUGUST A HIVJSlON

UNITED STATES OF AMERICA                          *
                                                  *
                                                  *
v.                                                       NO. frl 7-CR-00034
                                                  •
REALITY LEIGH WINNER

                                                  *
*• • * * * * *      *   * * * * * * * * * * *
                        DECLARATION OF J. WILLIAM LEONARD

        I, J. WILLIAM LEONARD, under penalty of perjury and from my own personal

knowledge, state:

        l.     I have bee.n e.nga.ged as an expect witne.ss by the defense in United States v.

Reality Leigh Winner, No. I: 17-CR-00034 (S.D. Ga. 2017).

        2.     The information set forth below is based on my personal knowledge, including

my experience working on national security matters in the Federal government over a 34-year

career; experience working on various legal matters charged under the Espionage Act; and my

review of documents and infonnati.on relevant to this case.

        3.     I was employed by the Department of Defense ("DoD") from 1973 through 2002.

From 1996 to 1998, I served as the Director of Security Programs for the DoD, and from 1999

through 2002, l served at times as the Deputy Assistant Secretary of Defense responsible for

security, counterintelligence, and information operations and at other times, as the Principal

Director in that office. Part of my responsibility was to develop and oversee policies to ensure

that there were no leaks of classified information, to ensure that such leaks were investigated

when they did occur, to ensure that information that should be classified was in fact classified,

and to ensure that infonn.ation that was not supposed to be classified was not.
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        4.        From 2002 thmugh January 2008, I served as the Director of the Information

Security Oversight Office ("ISOO"), one of only three individuals to have been appointed to that

position up to that point in time since it was created by then-President Carter in 1978. The

Director of ISOO is known colloquially as the "Classificat1on Czar" because the Director is

responsible for oversight of the government-wide c.lassification system. The Director of ISOO

has authority to access more classified information than anyone in the government other than the

President and Vice President, and ultimaitely can be ckn~ed access oniy by ithe President. Asi,de

from the President, as the Director of ISOO, I was the primary official charged with

responsibility to direct fhat information classified in violation of the governing executive order

be declassified, with authority to overrule even the decisions of Cabinet members, subject to

appeal to the President.

        5.        I also sat on the lnteragency Security Classification Appeals Panel ("ISCAP")

from 1999 through 2002 as the DoD representative, and from 2002 through January 2008, I

served as the Executive Secretary of the ISCAP. ISCAP ' s responsibilities include reviewing

appeals of agency mandatory declassification review decisions to determine if information

designated as classified by Federnl agencies meets the President's standards required for

classification.

        6.        In my various capa~ities with the Federal government, it was my responsibility on

a regular basis to determine whether information which an agency sought to classify or keep

classified met the classification criteria.    As part of that responsibility, I had to determine

whether and to what extent the information at issue was the sort of information that would be

potentially damaging to national security if disclosed. J also assessed on a regular basis whether




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purportedly classified information that had be,en foaked or disc'losed was demonstrably classified

or not, and whether it was closely held or not.

        7.      In January 2008_, i retired as Director of ISOO and Executive Secretary of the

IS CAP.      From 2008 through 2010, I served as an independent consultant on various

dassification and national security-related issues, as well as a professor at a local college

teaching political science. Since 2010, I have served as the Chief Operating Officer of a non-

profit engaged in the growth and promotion of democratic fostitutions around the world.

        8.      In 2017, I was approached to be an expert witness for Ms. Reality Winner, the

defendant in this matter. Counsel for Ms. Winner was seeking advice with respect to, among

other things, the Federal government's cla.'>sification system for national security information and

whe,t,ber or not the information al legedly disdosed in th.is matter constitutes ",national defense

infonnation,'' (NDI) as that te,nn is commonly understood and applied in practice. I have been

engaged and my work in the case is being provided on a pro bono basis. My motivation for
                                                                                                         I
becoming involved in this case. was my concern for the integrity of the classification system. I

strongly believe that dassification is a critical national security tool and that the responsibilities
                                                                                                         I
                                                                                                         '

of cleared individuals to properly protect classified information are profound. At the same time,

government agencies have equally profound responsibilities and in this regard, I have long

witnessed the over•classification of rnfonnation within the Executive Branch due to the failure of

agencies to fulfill these responsibilities.    In this way, the actions of agencies can actually

undermine the integrity of the classification system in that to be effective, it must be used with

precision.   As Justice Potter Stewart said in the Pentagon Papers case, "when everything is

classified, then nothing is classified . .."




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        9.     I have provided expert advice and/or testimony in other cases brought under the

Espionage Act, induding bu:t not limited to Unl!ed States v. S1eve11 Rosen, et al. , 1:05-CR-225

(E.D. Va. 2005) and United States v. Thomas Drake, lO-CR-181 (D. Md. 2010). In those cases, I

was prepared to testify and provided advice to coun.sel regarding the Government' s over-

classification of infonnation relating to the national. defense, namely the practice of classifying

information that is neither closely held nor damaging to national security if disclosed.           My

involvement in these matters confirmed for me the importance~ especially in criminal

prosecutio:n.s, of not aiHowing representatives of the Executive Branch to simply assert that

certain mformattion 1s c\assifil!d or c\ose\y beh! or potentiaUy damag,1ng if drisd0sed. Rather~

restricting dissemination of information in the interest of national security is based upon tbe

Presidenfs Article [1 constitutional authority as commander-in-chief and chief executive

responsible for foreign relations.    The President has delegated his classification authority to

certain government officials through executive orders. These orders set forth the standards that

must be satisfied in order for the legal protections of the classification system to apply to speci.fic

infonnation. It also sets forth the limitations and prohibitions which must not be exceeded.

        10.    Since being engaged in this matter, I have reviewed the redacted and unredacted

versions of the document defined as the "intelligence reporting" in the Superseding Indictment

(the "Document" ).




        11.    I have also reviewed the discovery requests propounded by· the defense in this

case to the Government, which are reflected in Exhibit A attached to the Defendant' s Objections



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                                                                                                     I
and Appeal of Magistrate's Decision Granting in Part and Denying in Part Defendant' s Motion

to Compel Discovery Requests filed by the Defendant on January 23, 2018. These discovery
                                                                                                     I
requests seek, among other things:

   •    Documents Reilecling Statements Made By High-Ranking Governmental Officials
        Relating to the Information Contained in the Document;

    •   Records Reilectfog the Disclosure 1by the Government of Information Contained in the
        Document At Issue ~n a Format Classified at ,Jess than the TS II SCI !eve.I or to an
        Audience that did not have a TS// SCI Clearance;

   •    Reco,rds Reflecting Analyses of the Information Contained in The Document and/or
        Analyses Relating to the Disclosure of the Information Contafoed in the Document At
        Issue;

   •


   ·•   Documents Relating to the Government's Three NDI Points; and

   •    Records Relating to the Document Itself, Its Author, and Its Classified Nature.

        12.    I have also reviewed portions of the transcript in connection with a two-day

hearing held by the Magistrate Judge on November 30, 2017 and December 1, 2017 in the

above-styled matter relating to the defendant's request to compel certain discovery items,

including those items listed above.

        13.    I also understand that some of the documents requested will likewise be sought

from certain governmental agencies through subpoenas.

        14.    Put simply, as set forth in more detail below, the above-listed documents are

crucial to adequately conduct the analysis I was engaged to provide, including among other

things, to determine whether the information contained in the "intelligence reporting" constitutes

"national defense information." Absent specificity from the Government as to which precise

facts or information in the Document constitute NDI , consistent with my prior experience in

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Espionage Act cases, J wouild need records relating to aH of the facts and informafion conta.inecl

in the Document to adequately determine whether those facts are, indeed, national defense

information,

                 Documents Reflecting Statements Made By High-Ranking
               G1)-v~irnmHttStl Offid-als R~\'Allt)g t1) tht JnformaUo» C~\\tai\\tt\
                                         in the Document

       15.     The Government's theory in this matter as to why the Document contains

"national defense information" is predicated on the assumption that ,t he information contained in
                .     .            I
the Document at issue 1s accurate.         Separately, however, there are governmental actors,

incJuding high-level govemmental actors (such as the President of the Un.ited States) , that have

made conflicting and/or contradicting statements in comparison to the Government's position

he.re. ln other words, ;these high-leve'l governmental officials have made statements undermining

the veracity of the information contained in the Document, which would impact whether the

Document actually contains "national defense information'' because, if inaccurate, the

Government's contention that its disclosure could harm the national se-eurity of the United States

would be severely undermined.       Indeed, the President is the highest level. of authority in our

classification system and has virtually unrestricted access to information in our intelligence

system. He is, therefore, in the best position to know the particulars of any piece of intelligence,

including its sensitivity and its veracity. Consequently, records reflecting statements made by

high~ranking governmental officials, including and in particular, the President of the United

States, relating to the information contained in the Document (including statements contradicting




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the trutb or veracity of the information at issue) are highly relevant and are critica:I to the

determination of whether or not it is closely held and/or whether or not its disclosure would

potentially damage the nationa'I security.

               Records ReOecting the Disclosure of Information Contained in
               tht ~»mtnt in~ fol"mat Cl~'\111lfifi3 ai \~"& iban tht T:S II SCI
                   Le,·el or to an Audierice 1'ha'.t :Did Not Haye a TS ll SCJ
                Clearance & Re-cords R.eflect1ng Analyses of tbe Information
                In the Document or the Disclosure of the lnforntJtion in the
                                        Dac1u.n~nt


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                                                   ·- · are likewise highJy relevant to the NDJ

detennination in this case. Importantly, to undertake the analysis I was engaged to provide, it

would be crucial to obtain records not just a'bout                                 described io the

Document, but to obtain records regarding




                                                                                   •
       18.     ln order to properly detennine, for instance, whether the information ·at issue 1n

this case constitutes "'national defense information," I need to be able to compare the information

in the "inteHigence reporting" to other documents involving identical or similar information,

including records reflecting the transmission or disclosure of that information. For example,

records demonstrating the Government ' s transmission of the same or similar information to

individuals without a Top Secret clearance would be probative of how close the Government

held this information. If, for instance, the Government disclosed identical or similar information

to others without such a clearance that would, in my view, reflect the Government ' s view that the

information was not likely being "closely held."

       19.     Likewise, records at any classification level reflecting an analysis of the national

security risks, if any, presented by the disdosu.re of the information contained in the Document

(again, not just the specific incident described in the Document, but other similar incidents

involving the same/similar actors, same/similar time period, and/or same/similar techniques) in



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the Govemment's possession (including documents analyzing what information may be

disdosed in particufar settings) are highly relevant to the NDI determination. For example,

.records reflecting the Oovemme,nt's view that certain pieces of informatio:n contained in the

Document may be disclosed in less-than-Top Secrel settings would reflect a different view of the

sensitivity of the information than the Govemment's current position in this case. Indeed, given

my experience, it would not be uncommon for different governmental agencies and/or

employees to have differing views on the sensitivity of certain information contained in the

Document. These analytical records are, therefore> critically ,i mportant in det,ermining whether

the .information at issue constitutes "'natiomal defense information.'·'

       20.     Separate and apart from the classification levels, many governmental documents

are labeled or marked "For Official Use Only" (FOUO). While the FOUO marking is not a

security classifi cation, governmental actors regularly label otherwise unclassified documents

FOUO. Indeed, it would be a rare case where a record , especially one addressing any topic

contained in the Document at issue, is not labeled FOUO.




Consequently, it is my belief that many pertinent records cdtical to the issues in this case -- such

as law enforcement alerts regarding the topics at issue here, bulletins by governmental agencies

warning actors about the threat posed by information in the Document, and the like -- would be,

at a minimum, marked FOUO, regardless of their classification level.          As with the records

mentioned above (which reflect the disclosure of such information and/or analyses regarding that

information or disclosure), these FOUO records would likewise be rel.evant and helpful to




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adequately conduct an analysis of whether the information in the Document cnnstitutes "national

defense information."




        21.      It is also critically important to obtain documents relating to any actual or

potential harm that resulted or could have resuhed from the disclosure of the Document,




        •



        23.      Separately, given that "national defense information" requires there to be

"potential harm" to the United States if that information is disclosed, any other records that



2 SeeGovemment's Oct. 5, 2017 Response to Defendant ' s August 29, 2017 Discovery Requests at p. 4 (attached as
Exhibit E to Doc. 162 (Joint Status Report]).


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would reflect any potential harm at the time of the disclosure would be necessary for an

evaJuation of whether the information at issue is "national defense information ."

                         n<~cuments R ,e hlting to th.e Governme:n f's 3 NUJI lPoiints

           24.      Documents directed to the Government's three NDI points3 are similarly relevant.

For example, the Government's first NOi point is that




                       I cannot make such a determination. Accordingly, further records regarding

this NDI point are critical to adequately conducting my analysis.

           25 .     The same argument holds true for the Government's third ND! point associated

with the Document:




                                                          Obtaining this "information" is thus critical to

understanding whether the Document constitutes "national defense information."



3
    It is my understanding that the Government has provided three points, which it contends are ND!, in addition to the
Document. See Doc. 182 Government's CIPA Section JO Filing); see also Tr. of Proceedings, Nov. JO, 2017, at
88:I0-18, 107:17-!08 :14.
4
  See Doc. 182 at p. 3.
5
  See Doc. 182 at p. 3.


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                          Records Relating to tbe Document, Its Author, and Its
                                                 Cla-ssiilied N-ature

           26.      Finally, documents relating to the " ioteHigence reporting'' itsel f, including records

celati.ug to its. authot:(&)/clas.sifier(sJ and the information utilized to classify the Document, are

Likewise rdevant. For example, ·pursuant to federal regulations, the author(s)/classificr{s) of the

Document should be able to, among other things, (a) precisely state the elements of information

corrtaiined there,in that warrant tbe clas.sification marking a.t the level indicated; and (b) provide

the original classification authority' s written support for each precise original classification

decis,ion to include the identification or description of the damage to national secudty in the

event of the· information's unauthorized disclosure.6 The relevance of these points are sel f-



that may res•uh from the disdosme of ,the Document, are important pieces of information, among

many others, in determining whether the infom1ation contained in the " intelligence reporting"

constitutes "national defense information." I know from my career in the federal government,

for example, that officials often reflexively mark a document as classified without adequately

considering the reasons for those classifications, and thus it cannot be assumed that the

classification markings on a government document are well-reasoned or correct. I also know

from my experience that classification decisions often come down to the subjective judgment of

the classifier, and two officials can take the same document and come to entirely different

conclusions as to the appropriate classification levels. Accordingly, the requested records are

relevant to determining the bases for, and assumptions underlying, the classifier' s decisions in

classifying the Document and ultimately, the sensitivity of the information contained in the



6
    See Executive Order No . 13526 (Classified National Security lnfonnation ) at§§ 1.1(4) and 2.1(b).


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     Document.    In other words, these records are extremely important to evaluating whether the

     Document constitutes "national defense information."

            27.      I understand that the Government has represented in this case that there are no

     documents or conversations regarding the decision to classify the Document at issue. That is



'    inconsistent with my experience and the governing Executive Orders and implementing

     directives. Among other things, there would be a determination by an original classifier that

     certain facts in the Document are classified at a specific level.       And, if the classifier of the

     Document at issue was not an original classifier, there would be conveyance - oral or written -

     of the classification guidance to the derivative classifier of the Document. These records would

     be relevant and helpful in determining the bases for the classification decisions associated with



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     the Document.

            28.      As a final point, for the reasons set forth above, it is important to note that, in my

     experience in other Espionage Act cases, discovery like that requested by the defendant here

     (including the above-listed categories of discovery) have been permitted.

            I declare under penalty of perjury under the laws of the United States of America that the

     foregoing is true and correct.

     Executed in Washington, D.C. on January 23, 2018.



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